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   Ream 2of2
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 Request#16045126




OLUTOKUNBO EFUNNUGA
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                     •
 Procedure to Be Performed:Q
 Nursefrechnologist to complete with check mark or NIA
                                                              •
                                                       J:&-=' :s~~
                                                                                               • •                                              • ..Jf'-:
                                                                                                                                      Unit Procedure Performed:


    Patient/Patient Representative has confirmed:                                    *identity           *site    *procedure
    Is Patient on Anticoagulati                        The py           0 No
    0 Physician Notified                                                                                  Date\Time:
    Surgical/Procedural site initialed by physlcia                                                                                                                N/AO
~&P Completed within 30 days of procedure                                                                                                                         N/AO.
    H&P Updated within 24 hrs of admission or registration                                                                                                        NIAD
 DOES PATIENT HAVE A :
  Known allergy?   o                             O Yes
     mplants, devices and special equipment available and functioning?                                                                                            N/AD




   (2) "Time Out" Verification before incision/start of procedure
                    ''Time Our• Suspend All Activities

 ~ary Procedure:,___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        onfirm all team members have introduced themselves by name and role
       Partici ants:
                                                                                      *patient            *site     •procedure

   , Proceduralist Reviews: What are the critical or unexpected steps, operative duration, anticipated blood loss?

      Nursing Team Reviews: Has sterility been confirmed? Are there any patient-specific concerns?



         elevant images and results properly labeled and correctly displayed, if applicable                                                                       NIAO




   (3) Debriefing
   NURSE VERBALLY CONFIRMS WITH THE TEAM:
~Review specimens and how each is labeled, if applicable
~Discuss equipment/Instrument problems to report and case Improvements
lt§:ntire Team reviews the key c                                        recovery and further management of this patient
 Participants:.___ _ _ _ _ _~~-;:s...c::~;::...-~:.....::i.,.__ _ _.,...._ _




 V Mercy Fitzgerald Hospital
     A member ell Mercy Heallh System                                                                     EFUNNUGA,OLuTOKUNBO
                                                                                                     • DOB-: 03/06/1979          37      M
                                                                                                       ADM: 10/07/16
 BEDSIDE PROCEDURE CHECKLIST



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                                                                          Focm II bedsde. Rev. 08l2018
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            •                               •              • •                                       •
                                              MERCY FITZGERALD HOSPITAL
             TIME                     BP             p         R        02SAT                  EKG
              L'- ....         \'-' l'l'i           /';),__~   ..c...~           '10-          !l,,./I,
               .                      • v                      - ......
                               '                    '




         Proccdure:'l,,\~65 :\hn4...C!IA ,~
          Physician:          ~- ~




EFUNNUGA,OLUTOKUNBO
DOB: 03/06/1979 37   M
ADM: 10/07/16·
ACC:FA1307223089 MR:F001250247

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                                 Surgical /Invasive Procedure Site Verification
     Location of Procedur'-....-,/,_.__
                                                                                                          (
                                                                                                                                 •
                                                                                                                                 v
     D Operating Room       /~entlonal Radlology               D Endoscopy Suite                               D Cardiac Cath Lab ·     D Other
                                                                                                              D ED           OOther _ _ __
                                                       _IJ~ SPU                        urslng Unit
                                            Time ___ ex=--------                              ?lL4
                 Verilie correct patient                 ~
                 Verified correct site: D Left                    No Laterality         D Right        D Bilateral           Level _ _ _ __

                                                          .
                 Verified correct procedure as stated b patlenVfamily/guardian
                 Verified     operative oonse1i~1~ltm~leted and slgne/£
     RN/Technician Signature                                  ~                                      Any discrepancy call physician

     Verification #2                                              Site Verification and Marking
                                                               Holding Area/Pre-Procedure Area
     D a t e - - - - - - - - Time - - - - - - - -
                 Verified correct patient
                 Verified correct procedure
                 Verified all relevant documents are available and matched to the patient's identifiers·
                 Verified operative consent accurately completed1and signed
                 Verified correct diagnostic and radiology test results are available and properly labeled
                 Procedurallst marked: Site                       D Left           0 No Laterality     D Right       D Bilateral Level _ __
                 Verfied blood products, equipment/Implants or special equipment are available, labeled and matched Jo
                 patient's Identifiers appropriate
     RNffechnlcian Signature                                                                         Any discrepancy call physician

     Verification #2
                                                         Ftnal Verification (Patient Is on procedure table)
     D a t e - - - - - - - - Time •final Time Out"                                                                ~'     r
                 Attending Procedurallst verified correct patient                                                 (}~
                 Procedure consent Is accurate and signed
                 Correct side and site marking visible after draping and confirmed
                 All In agreement of procedure to be done
                 Correct patient positioning
                 Radiographic images and results are properly labeled and displayed as appropriate
                 Antibiotic administered prior to Incision as appropriate
                 Fluids for Irrigation available if appropriate
                 Safety precautions addressed as appropriate (allergies nmplants)
                 Sequential device present as appropl1ate
                 Surgical/Procedure Team Confirms - "Does anyone have any questions or concerns before
                 proceeding?• •ts everyone in agreement?•
     Signature RN Technician                                                          Additional procedure "Time Out" if applicable
U Mercy Fttzgerald Hospital
  A membor of Mercy Heeltll Syatem                                                     EFUNNUGA, OLUTOKUNBO
                                                                                       DOB: 03/06/1979           37Y         M
SURGICAL/INVASIVE PROCEDURE SITE VERIFICATION
                                                                                       Adm: 10/7/2016
                                                                                       Ace: FAl307223089              MR#: F001250247

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                                                       Fonn NS552, Rev. 0110tl09       1111111111111111111111111111111111111111111111
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                           Case 2:18-cv-00924-PD                   Document 15-4
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       Location of Procedure
                                                                                   •
                                           Surgical / Invasive Procedure Site Verification
                                                                                                                                            •
                                                                                                                                            ,_,
      D OperaUng Room                       lntervenllonal Radiology                D Endoscopy Suite             D Cardiac Cath Lab              D Other
       Verlflcatlon #1                                                                                         D ED              ·D Other - - - - -
       Date
                   Verified correct patient
                   Verified correct site: O Left
                                                           'k.     N -aterality
                                                                                    Allergies


                                                                                          O Right        D
                                                                                                                     '
                                                                                                             Bilateral
                                                                                                                             .   I ..   "




                                                                                                                                 Level-----
                   Verified correct procedure as stated by atient/family/guardian
                   Verified operative conse                                          ed
       RNfTechnlcian Signature                                                                        Any discrepancy call physician

       Verification #2                                           Site Verification and Marking
                                                                Holding Area/Pre-Procedure Area
       Date                                     Time - - - - - - - -
                   Verified correct patient
                   Verified correct procedure
                   Verified all relevant documents are available and matched to the patient's identifiers
                   Verified operative consent accurately completed and signed
                   Verified correct diagnostic and radiology test results are available and properly labeled
                   Proceduralist marked: Site                      0    Left        D No Laterality      D Right         0    Bilateral Level _ __
                   Verfled blood products, equipment/implants or special equipment are available, labeled and matched to
                   patient's identifiers appropriate
       RNfTechnlclan Signature                                                                        Any discrepancy call physician

       Verification #2
                                                          Final Verification (Patient Is on procedure table)
      D a t e - - - - - - - - Time "Final Time Out•
                   Attending Proceduralist verified correct patient
                   Procedure consent Is accurate and signed
                   Correct side and site marking visible after draping and confirmed
                   AH in agreement of procedure to be done
                   Correct patient positioning
                   Radiographic images and results are properly labeled and displayed as appropriate
                   Antibiotic administered prior to incision as appropriate
                   Fluids for lrrigaUon available If appropriate
                   Safety precautions addressed as appropriate {allergies nmplants)
                   Sequential device present as appropriate
                   Surgical/Procedure Team Confirms - "Does anyone have any questions or concerns before
                   proceeding?" ·is everyone in agreement?"
       Signature RN Technician                                                          Additional procedur~ "Time Out" if applicable
V Mercy Fitzgerald Hospital
    A member ol MtrC'/ Heallh System                                                      EFUNNUGA, OLUTOKUNBO
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SURGICALJINVASIVE PROCEDURE SITE VERIFICATION
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  Time Out Perfonned Immediately Before Starting the Procedure:
         • Verified Correct Patient            • Verified Correct Procedure      • Correct patient positioning
         • Correct Side & Site Marked and Visible After Draping and confirmed
         • Procedure consent is accurate and signed                              • Safety precautions addressed as appropriate
         • Availability of special equipment, radiographic images, documents as needed
         • All members are in agreement of the procedure to be done
         • Procedure Team confinns - "Does any, e ha e any questions or con ms before proceeding?"
                                         "Is every      in reement?"
  Signature RN/Technician/P y ici
  Datemme of time out -~+-f'<1o--.1~.-----IC':F'--


    Hand Hygiene:                                                                        Alcohol Based Hand Rub
    Skin Prep:                                                                           Other


                                                                                                                              Other


                                                                        ~Line
  Procedure/Central Line Insertion:
  0 Single Lumen CV                                  D PA Catheter                                      0 Multi Lumen CV              D Dialysis Catheter
  D Single Lumen                                    D Dual Lumen
  Procedure/Other:                                  D Arterial Line       0 Lumbar Puncture             0 Drain Insertion             D Paracentesls
  D Chest Tube Insertion                            D Intubation          d Bronchoscopy                                              D Other
  Insertion Site                                    0 Subclavian                                        0 Femoral
  Location:                                         D Brachia!                                          0 Cephalic            0 Median Cubital        0 Other
  Insertion Side:                                    0-Right
  Sedation/Anesthesia: ~I
  Pr edure Description/E? t roced.ure ua1nrn
                                                                 /...


  Estimated Blood Lost: none unless noted _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  Specimen: noneunlessnoted _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  Complications/Corrective Action: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                                Dateffime:
'if Mercy Fitzgerald Hospital
     A rnemberol ~Heellh S)$tem                                                                  EFUNNUGA, OLUTOKUNBO
                                                                                                 DOB: 03/06/1979 37Y      M
INVASIVE PROCEDURE NOTE
                                                                                                 Adm: 10/7/2016
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                                                         ew Important Information:
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                                                                                                       I 171228



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      WARNING;                                                \'faming Falunl 10 wann cootrast rnecla to body terrcieratla'e pnor to pcl\Nef
      • Oo not w.,o Ille calhe!Mwllh ac:etono                 qeclJOR may resull In c:a1het« labe
      based$d41cns. or ~rlfCOl                       •        Vlge>(QU$1'/ !lush th& ""-'PICC- calhelet USlll!I a 10 ml ot lalger symge and
      ClOlllanrig Cllllment. 11- (:81\ ~                      alelie110R'1181 saJne pnor to and~ IQllowlrig lho ~ ol power
      lhe palyurelhane malenal "used <mt                      qedlenstldes. In addillcn, ~each lJrnen el the C8.lheler1Mtll hepannaed
      1llnB.                                                  safae. U$OOll)' 000 ml per..._ b odequal&. 1hs viii eRSUte lllo paleney of 11-.
      - PMtd prdongod ... 11""""""'8 COOlad                   Powed'ICC" c:alheter andprewnt damage to Ille catlteler. ReslstMlce 1o lfuslin9




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      anlisepbe$astlaearo kll0Wn to                           ~study until occlus1or'I Im blienelealeO Warning- Fabo IO enswe
       degrade~ calJ'le*5QYW                                  patency of the cathete1 pdor to power injection studies inay leSltt In calhelei
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                                                     •        Do not exceed Iha l'll8lOllltm llow !ale ol 5 ~ wamlng " - lnjeClot
      l 20;                                                   lll!M:ll1rle ~ liml!vl(l leatur& may no1 prevent averpressunzabOI> ol an
         Maintatn 3CCQlding lo llO$l)llal prolocol            ccdided cathQ!er, lltlich may cause catheter lallute. Werning ~Ille
      Avood US111g aQ810nO ba$ed soMions.,"'                  lll!IXmJllt Row rate ol S lri/see, ot thel'IWllllUlll pre$51l(e olpoweririjedotS ol 300
      Oll\llnent. These~ me l<no\m IO                         psi, may resull in catheter tallft am/0< c:olheler bp dsplaoemoot
      degtade pcl)iurelhane.                         •        Waming. PONerPICC' <:a!heler irldica!lOn !or po11o: ~_,, rtin!taS1 media
      • Use chfollleJOdme gb:onale and/                       llll)l!es 11>e oafhetcc'S atJ&il)' to WllllSland Ille procedure. ll\lt aoes noi Imply
      Of powidon& iodine!() dean Ille IOOI Site               eppropnateness of Ille~ lora pal1lCUlar palJellL A~ llalned dlniclan
      aroood the C8lhetet                                     1$ ~ llw evallla'109 lhe he81thstalUS ol a palleat as II petladl$ IO a power
      • PJ/qN al dee,nulg aQBlllS/anlrseptlcs IO              qedlol1 procecllre
      dty CQlllll&lely beloro ~ dtes.ulO             •        Use Ott/ Uneris mar1c.ec1 "Powet ~·wpower qedlCn or contras1 fllll(la.
                                                              Warning: Uso of lumetls OOl marked "Power1~· 1or~rjec;tion ol
      C&lhelet M81ntenance                                    calllast 01e<la may cause failufe cl lhe <:atheler.
      FklSb eadl lumen of the caltleterWllll 10      Power Injection Procedure:
      ml saln9 every 12 houls« after eac!I           t. Remcwelhe ~CBI> from Ille PllWe!l'"ICC- c:alholv.
      ~. In~. lock each...,,.,, ol lhe               2. Alladl a to m1 a lalger syringe Bled Wl1ll sienie _ , $ a b
      eatbeter with hepamaed safiP9. Usuatf.         3 ~te IOl'adequal9 bloOU refumancl~lklSh the catllelerWllh Ille fut tO
      cae ml l*'bnen Is adequate                        ml of sterile normal saline Warning Falunl to ensure paleney of the cattletef poor
                                                        to power lll)8QlOn Gllldies may resull in calhetef failUre
                                                     4. Delac:ll syr-.ge
                                                     5 Alladl the pgww ~ dEMCe to the PDWeff'ICC" c:attietu pet manuladunH's
                                   recooniendabOOS.
                                   Conlta$I media shoolcl be warmed to bocl1 lenl*ature PflOI' 10power111)edl0n
                                                     6
                                   warning· I"........ to """"'ccnttaSI mecia IO body ~lll!Ure pnorto power




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                                   media. Waming. Use olbriensm! matkod"Power ~·for power lllJectJOj'I
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      001-595-0700                                            of power qeclOfS Of 3(11) psi. may rOSUll., catheter Wute andtOf ca!heler tip
      Cl'inlG$lHot!ine 1~                                     ~
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      www.ba rdacces&eom                             10 Aeptacelhe ~cap on Ille PowetPICC- calheler.
      WNW poworplcc.com                              11. F111shlhePoweff'IOO" l:alhelerWllh 1oo-1o1'""'"nonna1 saline, US111ga 10ml«
                             07153$1 I 0708R             lar;ar aynng&.. In acldllloll, lock each~ ol lhe calhetef v.1111 llepannl:zed saline
                                                         U$OOll)' one ml per lumen,.. adeq(late
                               Case 2:18-cv-00924-PD               Document 15-4           Filed 05/03/18        Page 8 of 85
                                                    ()                                               \ )

· ~ WARNING: Certain Implants, devices, or objects may be hazardous to you and/or may interfere with the MR
                procedure (i.e., MRI, MR angiography, functional MRI, MR spectroscoP,y); Do not enter th~ MR system room or
                                                                                                                            •
                MR.environment If you have any question or concern regarding an implant, deVice, or object. Consult the MRI
       •        Technologist or Radiologist BEFORE entering the MR system room. The MR system magnet is·ALWAYS on.
       '                                                                        AN MRI CANNOT BE PERFORMED
   Please indicate if you have any of the following:
   0 No 0 Yes Aneurism Clips(s)                                                        IF THE PATIENT HAS:
   0 No 0 Yes Cardiac pacemaker                                                         ANEURYSM CLIP(S)
   El No 0 Yes Implant cardloverter defibrillator (ICD)                               CARDIAC PACEMAKER ·
 · 0 No •0 Yes Electronic Implant or Device
   0 No 0 Yes Magnetically-activated implant or device                 Please mark on the figure(s) below the location of any
   0 No D Yes Neurostlmulation system                                  implant or metal inside of or on your body.
   0 No 0 Yes Spinal cord stimulator
   0 No 0 Yes Internal electrodes or wires
   D No D Yes Bone growth/bone fusion stimulator
   0 No 0 Yes Cochear, otologlc, or other ear Implant
  ·O No 0 Yes Insulin or other Infusion pump
   0 No 0 Yes Implanted drug infusion device
   D No 0 Yes Any type of prothesls (eye, penile, etc.)
   D No D Yes Heart valve prosthesis
   0 No DYes Eyelid spring orwlre
   0 No D Yes Artificial or prosthetic limb
   0 No 0 Yes Magnetic stent, filter, or coil
   0 No 0 Yes Shunt (spinal or intraventricular)
   D No D Yes Vascular access port and/or catheter
   D No 0 Yes Radiation seeds or Jmplants
   D No D Yes swan-Ganz orthermodilution catheter
   D No G Yes Medication patch (Nicotine, Nitroglycerine)
· 0 No 0 Yes Any metallic fragment or foreign body
   0 No 0 Yes Wire mesh implant
   D No D Yes Tissue expander (e.g., breast)
   D No D Yes Surgical staples, clips, or metallic surfaces           ~l.IM~ORTANT INSTRUCTIONS
   D No D Yes Joint replacement (hip, bones, etc.)                    Before entering the MR environment or MR system
   0 No 0 Yes Bone/joint pin, screw, nail, wire, plastic, etc.        room, you must remove all metallic objects including
   0 No 0 Yes IUD, diaphragm, or pessary                              hearing aids, dentures, partial plate_s, keys, beepers,
   0 No 0 Yes Dentures or partial plates                              cell phone, eyeglasses, hair pins, barrettes, jewelry,
   0 No D Yes Tattoo or permanent makeup                              body piercing jewelry, watch, safety pins, paper clips,
   D No D Yes Body piercing jewelry                                   money clips, credit cards, bank cards, magnetic strip
 . 0 No 0 Yes Hearing aid (Remove berore entering the MR system room) cards, cords, pocket mike, nail clipper, tools, clothing
   D No 0 Yes Other i m p l a n t - - - - - - - - - - -               with metal fasteners and clothing with metal threads.
   0 No 0 Yes Breathing problem or motion disorder
   0 No 0 Yes Claustrophobia                                          Please consult Jhe MRI Technologist or Radiologist if
   D No 0 Yes Wireless endoscopic camera                              you have any questlons or. concerns BEFORE you
   0 No D Yes Deep brain stimulation                                  enter the MR system room.
                                                                                     '--------~-----------"
                                            NOTE: You will be required to wear earplugs during the MR procedure.
                                      MAGNETIC RESONANCE IMAGING HISTORY & ASSESSMENT
. 1.     Hav~ you had prior surgery or an operation (e.g., arthroscopy, endoscopy, etc.) of any kind?                       DNo       DYes
         If yes, please indlcat the date and type of surgery:
  Date:_/_/_                               Type of surgery - - - - - - - - - - - - - - - - - - - - - - - - - - - -
  Date:_/_/_                               Type of s u r g e r y - - - - - - - - - - - - - - - - - - - - - - - - -
  Please tum over to cont1:1ue
                                      MAGNETIC RESONANCE IMAGING HISTORY & ASSESSMENT
VMercy Fitzgerald Hospital                                                          EFUNNUGA, OLUTOKUNBO
    Ao l'lllmbel' of MftY Hee.l\h System
                                                                                    DOB: 03/06/1979 37Y     M
MAGNETIC RESONANCE IMAGING HISTORY AND ASSESSMENT
                                                                                    Adm: 10/7/2016
                                                                                    Ace: FA1307223089    MR#: F001250247



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  2.
                                            l)                                                   . )
       Have you had prior diagnostic imaging study or examination (MRI, CT, Ultrasound, X-ray, etc.?
       If yes, please list:            Body part                    Date                             Facility
                                                                                                              D No D Yes
                                                                                                                             •
       MRI                                                     _/_/_
     . CT/CAT Scan                                             _l_l_
       X-Ray                                                   _l_l_
       Ultrasound                                              _l_l_
       Nuclear Medicine                                        _ _J_l_

                  ------------------------------------ -'-'-
       Other
  3. Have you ever experienced any problem related to a previous MRI examination or MRI procedure?            DNo DYes
       If yes, please describe: _________________________________________
  4.      Have you had an injury to the eye involving a metallic object or fragment 0 No DYes
          (e.g., metallic slivers, shavings. foreign body, etc.)?
          If yes, please describe: _______________________________________
  5.      Have you ever been injured by a metallic object or foreign body (e.g., BB, bullet, shrapnel, eic.)? 0 No DYes
          If yes, please describe: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.;...__________________
  6.      Are you currently.taking or have you recently taken any medication or drug? 0 No DYes
          If yes, pte.ase list: ________________________________________
  7.      Are you allergic to any medication?                  D No DYes
          If yes, please list: ______________________________________
  8. . Do you have a history of asthma, allergic reaction, respiratory disease, or reaction to a  ONo DYes
       contrast medium or dye use for an MRI, CT, or X-ray examination?
  9. Do you have anemia or any disease(s) that affects your blood, a history of renal _(kidn~y) · DNo Dves
       disease or seizures?
       If yes, please describe: _ _ _ _ _ _ _ _ _ _......._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  10. How much ao you weight? _ _ __
  For female patients:
  .11. Date of last menstrual period: __l__ I _                              Post menopausal?                                   DNo         DYes
 · 12. Are you pregnant or experiencing a late menstrual period?                                                                DNo         Dves
   13. Are you taking oral contraceptives or receiving hormonal treatment?                                                      DNo -DYes
   14. Are you taking any type of fertility medication or having fertility treatments?                                          ONo OYes
      If yes, please describe: _ _ _ _ _ _ _ _ _ __ _ , - - - - - - - - - - - - - - - - - - - - -
  15. Are you currently breast-feeding?                                              ONo OYes

  ! attest that the above Information is correct to tile best of my knowledge. I have read and understand the contents of this form
  and had the opportunity to asK questions regarding the Information on this form and regarding the MRI procedure that I am
  a~out to undergo.
                                                                                                            Date: __l _ l__
  Signature of Person Completing Form _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Tune: _ _ _ __
                                                                             Signature

  Form Completed by: D Patient 0 Relative 0 Nurse: ---.....,,.,,,_-----
                                                                               Print Name                         Relationship 10 Patient
  Form lnformaUon Reviewed By:

· O MRI Technologist
                                        -----------------------
                                  O Nurse O       0
                                            Radiologist
                                                            Print Name
                                                                  other:
                                                                                                                 Signature


 V Mercy Fitzgerald Hospital
       Amemberd Mercy Heallh System                                           EFUNNUGA, OLUTOKUNBO
                                                                              DOB: 03/06/i979          _ 37Y      M
                                                                              Adm; l0/7/20lG
 MAGNETIC RESONANCE IMAGING HISTORY AND ASSESSMENT                            Ace: FA1307223099            MR#: F001250247



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                                                          PHY.x.HISTPHY
                        Case 2:18-cv-00924-PD                       Document 15-4          Filed 05/03/18 Page 10 of 85




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                                                                 Surgeons an~ Pr_ocedures
                                                                                                EFCjii.UGA,OLUTOKUlil!l
                                                                                                    l\1~00515954
                                                                                                    Acct#: FA1306093293
                                                                                                    DOB: 03/06/1979
                                                                                                    DOS: 10/2412016
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                                                                                                                                    37 IM


                                                    -
Phvsician 1             SHARIFF.HAJI                             Right VATS decortication
                                                                    Preop Assess Holding
               Time In Holding: 11:02                                                  Admlted From: Patient Room
                                     Patlentldentified: y                                              fype and Screen:       y       -------
                         Verifies operf:!live procedure: y                                              fype and Cross:       y
                                     Verifies allergies: y                                                Bloo.d Permit:      y
  Chart reviewed and complete for relevant documents: y                                                            CXR:  N
              Operative Consent Cpmplete and signed: Y                                                              EKG: y
              Anesthesia consent complete and signed: Y                                                           HandP: y
                                            Blood Work: Y                                                   DVTProtocol: y
Site Marking by Attending Physician
Site                  Laterality                         Level                 Procedure(s) as stated by patient/fami/y'g11ardian
Chest                 Right                                                    "they are checking my lungs"
                                Family In Waiting Room: N
 Verified correct ifiagnostic and radiology test results are available and properly labeled: y
·Verified blood products equipment implants or special equipment are available labeled and matched to patients identifiers as appropriate:
                                                                                                                              y
                                                                                                                                                          .
 Room Ready: Y                                                                                            RN: KEYSER,ROBIN ,RN
Significant PMH I PSH: HIV +, glaucoma, ETOH withdrawal, rhabadmyolysis, drug
                       overdose


                                                                                                                ~------------1
 Mobility                           Assislive Devices
 Total Assistance
----
level of Consciousness Other                              Psychological            Other                  Communication              Other
Other                            sedated on ·vent         Other                   sedated on vent         Other                     sedated on vent
Skin Appearance                   Other                   Musculo-skeJton        Other
Cool                                                      ROM limitations
                             -
                                                                 Case Start I Personnel
 Patient in Room: 11:05                       Anesthesia Start: 11:05         ASA Classification: IV                                   AddOn: N
 Proc Start Time: 12:20                       Anesthesia Type: General Anesthesia
                                                                                                                                                   ---··
PreOp Diagnosis.· empyema right lung
-   ---
StaffRole                                               StaffName
                                                                             -- -     ----------~-------


                                                                                                Time In       Time Out
                                                                                                                             - --- - - -- - - -
                                                                                                                            Time In Time Out
Circulator                                              Doherty, Meghan                         10:30         11:35         12:05   14:55
Scrub Technician                                        Walsh, Rachael                          10:30         14:55
Circulator                                              KEYSER.ROBIN ,RN                        11:30         12:05
                                                                                                                                                   ---
Anesthesia Staff                                                    Name                                       Role
MALIK. PAVAN                                                        Marcoe                                     Residents
HIN,DYNO
                                                                      Prep I Positioning             -

Position                         Device                 Device               Device           Device         Extremity               Extremity Position
Left Lateral                     Beachchair             Pillow               Donut            Lateral Suppon Right upper             Annboard
                                 Positioner                                                                  extremity
                                                        Gel Rolls                                            Left upper              Annboard
                                                                                                             extremity
                                                        Overhead Ann
                                                        Board


 Printed: 10/24120161.S:OO                                                                                                           Case Record Page I <f 4
                    Case 2:18-cv-00924-PD                 Document 15-4              Filed 05/03/18             Page 11 of 85



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                                                                                            EE.UGA,O~UTOK~
                           Mercy Fitzge.ospital                      •                      M      000515954          ~

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                                                                                            Acct#: FA1306093293
                           Operating Room Case Record Report                                DOB: 03106/1979               37 IM
                                                                                            DOS: 10124/2016
Positioned By: MALIK, PAVAN                                   Pad Bony Prominences:         y       Safety belt applied and secured:        y
               HIN,DYNO
               SHARIFF,HAJI
Ski11Prep:   y      Skin Prep: Chloraprep                                                                                                   ___I
Hair Removed in OR with Clipper: N                                                                Hair removal 48hrs prior to surgery: NIA           I_

DURAPREP OR ALCOHOL BASED SOLUTIONS:                     y                     3 minute dry time/no pressence ofpooling:        y
                                                                                                    -       .
                                                         ESU I Tourniuet I Counts
ELECTROSURGICAL UNJT y                   .
ESU#                 Ground Pad Site                               Side                           Bipolar        -        Cut           Coag
23775·A              Megadyne                                                                                             35            35
TOURNIQUET: NIA
                                                                                                                                                   -·
COUNT: Y         Count                       Count Stafff I                                        Count Staff 2
                 In Count                    Doherty, Meghan                                       Walsh, Rachael
                 Closing Count               Doherty, Meghan                                       Walsh, Rachael
                 Second Count                Doherty, Meghan                                       Walsh, Rachael
                 Final Count                 Doherty, Meghan                                       Walsh, Rachael
Surgeon Notified ofCounts:   y         IfCounts Unresolved, X·Ray Taken: NIA
Name ofpractitioner confirminf!. count:    Marcoe
                                                       Fire Risk/Patient Safety

Surgical site above Xiphoid? Yes= 1                                        Open oxygen source? No=O
Available ignition source?       Yes= 1                                    Fire Risk Scoring:  TWO
Mqderate/Hle.,11 Fire Rl~k Protacol:
includes all routine protocols: y                                            Use draping tech to minimize 02 concentration: y
Minimize electrical surgical unit settings: y       &

                                                                             Encourage use ofwet sponges: y
Basin ofsterile saline or H20:                y                              Anesthesia documents 02 concentration flow: y

S.,1u1:J.cal Sa(e{R. C.li,£klN;
How long ll!ill the _case take? 2 hours
What is the anticipated blood loss? 400ml
Key concerns for patient recovery/management?           noconcems

                                                             Final Verification
Patient in Room: 11:05            TIME OUT FOR PROCEDURE VERIFICATION: 12:19                                 Nurse: Doherty. Meghan
      y        A. Attending Procedural/st verified correct patient
      y        B. Procedure consent is accurate and signed
      y        C. Safety Precautions - Allergies read aloud
      y           Acknowledgement ofimplant existing devices
     -y           Sterility verified - no specific concerns
      y        D. Correct patient positioning
      y       E. Site marking confirmed/correct and visible qfter patient Is draped
     y        F. Special Equipment
     NIA      G. Radiographic images properly labeled and displayed as appropriate
     y        H. Implants availab/elfluids for i"igation available ifappropriate
      y       l Antibiotics administered prior to incision per anesthesia
      y       J. SCD present as ordered
      y       K.J!eci/ied_al/.J;e/eJZ.Qt1t_do.ci1ments_at:.eJIVJilabk..a11d.matcbe..d.JJ11he.patie.ots..ideotijie1;s
Final Site Verification Completed? y
Does anyone have any questions or concerns with the procedure or anesthesia? N
Does anyone have any questions or concerns before proceeding? Is Everyone in agreement? y

Printed: 101241201615:00                                                                                                        Case Record Page 2 if 4
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                             Operating Room Case Record Report

                                                                  Meds/XRays
                                                                            •                             E.QlUGA,OLUTOKU•
                                                                                                          lV1       000515954
                                                                                                          Acct#:FA.1306093293
                                                                                                          DOB: 03/06/1979
                                                                                                          DOS: 10124/2016
                                                                                                                                        37 I M



 INTRA OP MEDS ON STERILE FIELD:                    Medication:   y                         Administers prescribed meds and solutions: y
 Medication                                     Dose          Unit                        Route                 Comment
 Bupivacaine w/ Epinephrine O.?% 130            20            ml                          Injection
 ML Single use Marcaine -MPF w BPI
 X-Rays:    NIA
                                                                                                                                  --------
                                                           Specimens I Caths I Drains
 Catheter Indwelling on Arrival: NIA
 Urinary Catheter: y

I
                             French  Balloon                 Type               Ordered By                                 Inserted By
                                   16           Sec          Foley                                                         KEYSER,ROBIN ,RN
 Specimen:      Y   Specimen          -                           Type                    Fixative                 Comments
                    see meditech
 All Specimens Read Back and Verified: y
 Drains/Tubes: Y              Type                                Size                              Site
                              Chest Tubes                         28f                               right lung
                                                                  32f                               right lung
 Packing: N                                                                                  Dressings/Casts: y            Type            Site
                                                                                                                           Dermabond       Chest
                                                                                                                           4x4             Chest
                                                                                                                           Tegaderm        Chest
                                                                          Laser
 Laser Used:        NIA
                                                                 IntraOp Summary
     Patient in Room: 11:05                                Proc Start Time: 12:20                                             Anesthesia End: 14:55
     Anesthesia Start: 11:05                                Proc End Time: 14:20                                         Patient Out ofRoom: 14:55
     Anesthesia Type: General Anesthesia                                                                        Wound Class: IV- Infected
       Tranferred To: PACU
i--UrlnaryCOiheter: Y -                                     Dratiis7-tu"liiS:_Y _                                   - ------ --iack1iig:-N-~-- -- ·
__D.!_~IE_gsl_c_as_ts:_Y                                             I1!!P_1!l'!_t.:_ ~
 Post OP Diagnosis: same as preop
 Actual Procedure Peiformed: see header
                                                                                                      -               --------~--------

 Complications: N                           Type:

-           Evaluates postoperative tissue perfi~Y                                         EvaiiiiiiSiorsigns ojinjury due to positioning: -y-- -
    Evaluates for signs/symptoms ofelectrical i,Yury: y                                         Evaluates for signs of injury to skin/tissue: Y
    Evaluates for signs/symptoms ofchemical injury: y

                                                                  PNDS Outcomes




 Printed: 10/24120161.5:00                                                                                                                Case Record Page 3 if .f
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 Outcome
                            Operating Room Case Record Report
                                                             •                     EF.UGA,OLUTOKU•
                                                                                  1\11   000515954
                                                                                  Acct#:FA1306093293
                                                                                  DOB: 03/06/1979
                                                                                  DOS: 10/2412016
                                                                                                               37/1\1

                                                                                                       Status Staff
 The patient has wound/tissue perfusion consistent with or improved from baseline levels established   MET     Doherty, Meghan
 ~eoperativel~·------                                                                                       _____ - - - - - - -
 The patient is free from signs and symptoms of injury caused by extraneous objects.                   MET_ _J?~he'!r.• Meg~
 The pati;nt'i;-~from signs and symptoms ofchemicafiii'jury.                                           MET     Dohe~, Megh~
 The patient is free from signs and symptoms of electrical injury.                                        __
                                                                                                      -~13'!'  ?~he1"tl,_~~~I~~- __
 The-J)atientistfeeiiOnlSiirtsaild'Symptoms o{ilijury relatedto positioning.                           MET__ _poherty, M~~han _
·ne patient receives appropriate medieation(s), safely administered-dUrlngtheperioperativeperi0ct:-- -MET      Doherty~~~n__


 Signature: Doherty, Meghan                                      Date Time:    10124/2016 15:00




Pnnted: I0/2.f/2016 lS:OO                                                                                       Case Record Page .f if .f
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                                 _OJ\pnea                                                                                          :... o Excessive


Score:_+--(            Q~))./-              •Discharge for score> 9-12
                                                                                                                      1?15'
                                                                                   TIME OFF
                      Case 2:18-cv-00924-PD                     Document 15-4            Filed 05/03/18         Page 15 of 85

~~                                     IV Condition Assessment
RS        •   Right Subclavian         Assess for presence of Phlebitis I
LS            Left Subclavian          Infiltration Place "O" 10 space If
RUE:          Right Upper Extremity    none evidenl If other findings
LUE           Left Upper Extremity     describe In nurses notes.
AF            Right Femoral
LF            Left Femoral


         Solution




                                                                                                                            btdf~
                                                                                                Blood Wor!s Results"

                                                                              Response

                                                                            ~                   BUN                         HGB

                                                                            ~                   NA                          HCT
                                                                            __.                 K

                                                                                                CL                          PH

                                                                                                C02                         PC02

                                                                                                GLU                         P02
                                                                                                                            NAH




Discharge:
Report Galled By:
                                                                  A} 95       ff"rJ
Report Called To:                                                                                                      Stretcher      Cnb
Room Number:                                         To Unit                                  Transport:
TIme·                                                            1Ur.         '
                                                                                                                  ,;: Bed            Other



         ~FuNNUGA,OLUTOKUNBO
         DOB: 03/06/1979
         ADM: 10/07/16
                                      37    M                                      '8f Mercy Health System
                                                         7                                 A member of Catholic Hearth East


         m11rmiri1lf1iii1m1mimi1rnr·                                                  POST ANESTHESIA NURSING RECORD
                                                                                                                                   NS 205 (2/09)




                    • •                                                     •                       •                       •
                         Case 2:18-cv-00924-PD      Document 15-4            Filed 05/03/18    Page 16 of 85
                                 1-11\Jt.
                                    MACHINE#
                                                              •




EBL

PHYS. llllT.

 SYMBOLS        200
    BP
       v
       I\
                180
                            ..
   PULSE

START ANES
                                                                                   ..
       x
  STARfOP
      (!)
 SaSUPINE
 Pml'RDNE
 J..JACKKNIFE
L"'UlHOTOMY eo
 Rl=RHAT
 LL=l. lAT.
-!=POSITION
   CHECK
      RESP




            ~DOB: 03/06/1979 37
             ···---~-­
            EFUNNUGA,OLUTOKUNBO
                                      M



                      1i~BUiii111fili1illiiilii.,
                                                       LR
                                                      NSS
                                                      i Mercy Fitzgerald Hospital             ANESTHESIA RECORD
            lfliITTIDf                                      A member of Mercy Health System
                                                                                                                  AN1wRev(5110)
PRE-OP VISIT
                   •
                       Case 2:18-cv-00924-PD



                     DATE !/'ff/AGE J'.J' HT
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                                                     ..tJb ~ 'ftk PROCEDURE:                   • ••
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MEDICATIONS                               ."1                         (/
        1>i~~                   ~ r~,~~
           ~
            l4w.
           ~(AM'4
PREVIOUS ANESTHESIA




                                                                                          ~~J.uJJdn~
ALLERGIES                                                                                  fol.J~/;~ ~ fftai au'd,,M

                                                     YES        NO
PATIENT HX ANESTHESIA PROBLEMS                       0          ef1
FAMILY HX ANESTHESIA PROBLEMS                        0          IZI
SMOKING HX                                           IZ'"       0

                                                  ~
DRINKING/DRUG HX                                                D
COMMENTS:                                                       0

~:~~~DIES· l ll·Ufi1 INR /· 1
Platelets            ~~             PT      /J-flpn _ __
SMA-6                              Bleeding Time _ _ _ min
                           w       Other Lab/Studies
Na           CI          eu.,,creat Ji.
     / I tJA <l.f/!. J >}fr
                                                                           Preanesthesia assessment
                                          Jil4r(f)   ¥~                        Lungs:.lat::, {,J'lt!)
     Jrk      1.?'          I                                                  Cardiac:
K            C02         GLU ~
                                                                               Comments:

BP
     ------                                     f'W}?'I. 111 9Pj ~le. PLAN
CXR
                                                      ~     ~    /         ~ GEN 0 Spinal 0 Epidural 0 MAC

                                                                                                                                        ·
                                                                                                                            0 Axillary Block
                                                                           ~ Anes etic Plan, Risks vs. Benefits explained to patient




                                                                           V4177
                                                                           ancVori uard· ~
EKG
                                                                           ~ ~~O CVP/S                 0 Epidural/Spinal Narcotic
                                           CIRCLE ONE
AIRWAY ASSESSMENT
~.~••d l?{rar              oPoor            ~eJA)e                         ~-----------~~~-------~CANA
                                                                                        ;;
Neck          f" ~ ..:.t(af>t®                            (Y'              ~---~------~__:._-~--~MWDO
                                                                                                           Sipua
Mouth
ASA Physical Sta~ass
   1 2 3 C,.J 5 E
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    Alarm Review 411-2 EFUNNUGA,O
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     Alarm Review 411-2 EFUNNUGA,O
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           417-2 EFUNNUGA,O Case 2:18-cv-00924-PD                                                Document
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           Page 1of1                                                                                                        SIDEB                                                                                  MERC'( FITZGERALD HOSPITAL
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DATE: ll/03/16 @ 0002              Mercy Fitzgerald Hospital PHA *LIVE*                              PAGE 1
USER: MT                            Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Acc:;ount Nwaber FA1307223ci89 .     Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex          37/M                Rooa       411                Registered Date 10/07/16
Status           DIS IN              Bed        02                 Discharged Date 11/01/16

Height     5 ft       7 in   170.18 ca                        Body Surface Area         1. 92 :m.2
11cight 176 lb     5.92 oz       80 kg
Hea-Onc No

Transfers
FROM: 417-02 TO: 411-02 on 10/29/16-0045
FROM: 506-01 TO: 417-02 on 10/27/16-1314
FROM: ER006-1 TO: 506-01 on 10/07/16-0935

Drug Allergies    No Known Allergies

ADRS

Creatinine Test Results
                                      LABORATORY
Date     Time Test                  Result                     Flag Normal Range
11/01/16 0659 CREA                  0.9                             0 . 8-1 . 4 mg/dL



LATA2.5D - LATANOPROST 2.5 ML OPHTHALMIC DROPS

  Dose        1 DROP (0.02666667 OPTHALMIC SOLUTIONS)
  Adain Route EYE BOTH
  Start Date 10/09/16-1800         Stop Date None                     DC Date ll/Ol/16-2054
  Ordering Doctor      AHANGAR,WASEEM MD
  Total Dispensed      2           Total Costs $11.46                  Total Charges $17.50
  Rx Nuaber   001875485

  Discontinue Colllll.ents DC'd by Discharge


  History
   10/08/16 2102 - POM ORDER                          by COAHANGlil
   10/08/16 2113 - VERIFIED                           by FISPERAR
      Items Dispensed: 1     Doses Dispensed:         1
       For: 10/09/16 - 1800
   10/20/16 2052 - DEBIT                              by FILINC
         ITEMS: 1
   11/01/16 2055 - DISCONTINUE                        by DISCHARGE      Ef f: ll/Ol/16 205 4
      FROM:
         DC COMMENTS:
      TO:
         DC COMMENTS:
           DC'd by Discharge

Adm.in Date Tiae User       Given Bag Reason Code                     Iten.s             Charge
10/09/16    1717 FIBRIGHM      Y                                           1
(10/09/16) (1800) Dose: 1 DROP

10/10/16    1840 FIYOUNGS      Y                                           1
(10/10/16) (1800) Dose: 1 DROP
             Case 2:18-cv-00924-PD           Document 15-4    Filed 05/03/18   Page 27 of 85
DATE: 11/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 2
USER: MT                          Medication Administration Summary

Patient                                            Responsible Doctor LITTMAN.MARIO. MD
Account Hu.her FAi3ci7223ci89          Location   FI4PVA             Unit Hu.her     F001250247
age/Sex        37/M                    RCXJa      411                Registered Date 10/07/16
Status         DIS IN                  Bed        02                 Discharged Date 11/01/16

EFUNNUGA.OLUTOKUNBO                      Fll.1307223089                        (Continued)

10/ll/16    1909 FIYOUNGS          y                                      1
(10/11/16) {18 0 0 ) Dose : 1 DROP

10/12/16    2153 FIMCGILM      y                                          1
{10/12/16) (1800) Dose: 1 DROP

10/13/16    1808 FIMCGILM      y                                          1
{10/13/16) (1800) Dose: 1 DROP

10/14/16     18 41 FIMCCORJ     y                                         1
( 10/14/16) (1800) Dose: 1 DROP

10/15/16    1744 FIBEURKH      y                                          1
(10/15/16) (1800) Dase: 1 DROP

10/16/16    1732 FIBEURKH      y                                          1
(10/16/16) {1800) Dose: 1 DROP

10/17/16    1844 FIMCCARD      y                                          1
{10/17/16) (1800) Dose: 1 DROP

10/18/16    1815 FIBURKEI<     y                                          1
(10/18/16) (1800) Dose: 1 DROP

10/19/16    1706 FIDONAHS      y                                          1
(10/19/16) (1800) Dose: 1 DROP

10/20/16    1956 FIDONAHS      y                                          1
(10/20/16) (1800) Dase: 1 DROP

10/21/16    17 0 2 FIDONAHS    y                                          1
(10/21/16) {1800) Dose: 1 DROP
10/22/16    1851 FICAVANMl     y                                          1
(10/22/16) (1800) Dose: 1 DROP
10/23/16    1705 FICAVANMl     y                                          1
(10/23/16) (1800) Dase: 1 DROP

10/24/16    1734 FIYOUNGS      y                                          1
(10/24/16) (1800) Dose: 1 DROP

10/25/16    1644 FIYOUNGS      y                                          1
(10/25/16) (1800) Dase: 1 DROP

10/26/16    1746 FINOGAT       y                                          1
(10/26/16) (1800) Dose: 1 DROP

10/27/16     19 0 7 FH1ATSOI<     y                                       1
             Case 2:18-cv-00924-PD            Document 15-4    Filed 05/03/18   Page 28 of 85

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                              PAGE 3
USER: MT                           Medication Administration Summary

Patient                                             Resp::msible Doctor LITTMAN.MARIO, MD
Account Nuaber FA13ci7223ci89           Location   FI4PVA              Unit Nu.her     F001250247
Age/Sex        37/M                     Rooa       411                 Registered Date 10/07/16
Status         DIS IN                   Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                           (Continued)

(10/27/16) (1800) Dose: 1 DROP

10/28/16    2123 FIKIMJ        y                                           1
(10/28/16) (1800) Dose: 1 DROP

10/29/16    1616 FIHALLAM      y                                           1
(10/29/16) (1800) Dose: 1 DROP

10/30/16     1906 FIBLEIU.          y                                      1
(10/30/16) ( 18 0 0 ) Dose : 1 DROP

10/31/16     1721 FIMOSLEK      y                                          1
( 10/31/16) (1800) Dose: 1 DROP


  Adain Totals                                                            23
             Case 2:18-cv-00924-PD        Document 15-4   Filed 05/03/18   Page 29 of 85

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 4
USER: MT                       Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account N~r FAi3bi223o89 ······   i~t.ian     FI4PVA             Unit Nwaber     F001250247
Age/Sex     37/M                  ROOll       411                Registered Date 10/07/16
Status      DIS IN                Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


PROP10VI9 - PROPOFOL 1000 MG/100 ML VIAL - 100 ML

  Adllin Route IV CONT
  Site
  Voluae       100          Rate 0 MLS/HR                        Duration 0 SEC
  Frequency    .QOM (PRN) PAR= PRN REASON: RASS goal -1/-2
  Start Date 10/07/16-0830         Stop Date None                 DC Date 10/07/16-1452
  Ordering Doctor      BORIKAR,MADHURA S MD
  Last Bag     0
  Total Dispensed      1           Total Costs $21.35              Total Charges $176.00
  Rx Nu:aber   001873872

  Protocol
    ~Co~n=d=i~t=io=n~~~~~~~~~~-       Dose/Rate/Route             Instruction
    SEDATION                          START @5 MCG/KG/MIN         TITRATE TO RASS GOAL
    TITTRATION IF NEEDED              5 MCG/KG/MIN QlOMIN
    MAXIMUM DOSE 50 MCG/KG/MIN

  Varnings
  Type:           MAINTENANCE
  Range:          PROPOFOL (10 MG/l ML)
  Condition:      ALL COMMON INDICATIONS
  T.ifarnings        PROP10VI9: Unable to check dose ranges for MCG/KG/MIN (No Duration).




  History
   10/07/16 0821 -   POM ORDER                     by COBORIKM
   10/07/16 0829 -   VERIFIED                      by FIJASINT
   10/07/16 1116 -   DEBIT                         by MBRIGHT
        ITEMS: 1       DOSES: 1
   10/07/16 1455 -   DISCONTINUE                   by COLERMAG      Eff: 10/07/16 1452
      EDIT DOCTOR:   LERMAN,GABRIEL S DO
      EDIT SOURCE:   Provider Source
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DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 5
USER: MT                       Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089      Lacation    FI4PVA             Unit Number     F001250247
Age/Sex        37/M              ROOll       411                Registered Date 10/07/16
Status         DIS IN            Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA.OLUTOKUNBO                FA1307223089                             (Continued)


RING100010 - RINGERS SOLUTION.LACTATED 1,000 ML IV.SOLN - 1,000 ML

  Ach.in Route IV CONT
  Site
  Volume       1.000       Rate 1.000 MLS/HR                      Duration 1 HR
  Start Date 10/07/16-1015         Stop Date 10/07/16 1114         DC Date 10/07/16-1114
  Ordering Doctor      KUMAR.NITISH MD
  Last Bag     0
  Total Dispensed      0           Total Costs $                    Total Charges $
  Rx Nu:aber   001874004

  Discontinue Ccmaents Reached Stop Date


  History
   10/07/16 1007 - POM ORDER                       by COKUMARNI
   10/07/16 1007 - VERIFIED                        by FIREALID
   10/07/16 1114 - DISCONTINUE                     by PHABKGJOB      Eff: 10/07/16 1114
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Acmin Date Ti:a.e User      Given Bag Reason Code                 I tells        Charge
10/07/16    1012 FIBRIGHM     Y                                        1           0. 0 0
(10/07/16) (1015) Rate: 1,000 MLS/HR


  AdJain Totals                                                        1                  0
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USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Nu.her FA1307223089     Location   FI4PVA             Unit NUJ1.ber    F001250247
Age/Sex        37/M             Rooa       411                Registered. Date 10/07/16
Status         DIS IN           Bed        02                 Discharged. Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)

RING100010 - RINGERS SOLUTION,LACTATED 1,000 ML IV.SOLN - 1,000 ML

  .A.chain Route IV CONT
  Site
  VolU11.e       1,000       Rate 175 MLS/HR                      Duration 5 HR 43 MIN
  Start Date 10/07/16-1500           Stop Date None                DC Date 10/08/16-2300
  Ordering Doctor        LERMAN.GABRIEL S DO
  Last Bag       1
  Total Dispensed.       0           Total Costs $                  Total Charges $
  Rx Nuaber      001874431

  Discontinue eo..ents Reached Renew Stop Date


  History
   10/07/16 1458 - POM ORDER                      by COLERMAG
   10/07/16 1505 - VERIFIED                       by FIANDERC
   10/08/16 0045 - EDIT                           by COGOOCHJ
      EDIT DOCTOR: GOOCH.JOHN R MD
      EDIT SOURCE: Provider Source
      FROM:
        SIG: . Q8H
        RATE: 125 MLS/HR
        DURATION: 8 HR
      TO:
        SIG: . Q5H4 3M
        RATE: 175 MLS/HR
        DURATION: 5 HR 43 MIN
   10/08/16 0045 - ADJUST ALL TIMES               by COGOOCHJ
      FROM: 10/08/16-0700
        TO: 10/08/16-0512
   10/08/16 1500 - RENEW STOP FILED               by SYSTEM
   10/08/16 2300 - DISCONTINUE                    by RENEW STOP     Eff: 10/08/16 230 0
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Renew Stop Date

Ad11.in Date TiJLe User     Given Bag Reason Code                 Items          Cha~e
10/07/16     1554 FIBRIGHM    y                                       1               0.00
(10/07/16) (1500) Rate: 125 MLS/HR
10/07/16    2153 FIZIMMEC    y                                         1              0.00
(10/07/16) (2300) Rate: 125 MLS/HR

10/08/16    0548 FIZIMMEC     y                                       1               0.00
(10/08/16) (0512) Rate: 175 MLS/HR
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USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Nwaber FA1307223089     Location   FI4PVA             Unit NUJ11.ber  F001250247
Age/Sex        37/M             Rooa       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)

10/08/16    1140 FIBRIGHM     Y                                      1           0.00
(10/08/16) (1055) Rate: 175 MLS/HR

10/08/16    1704 FIBRIGHM     Y                                      1           0. 0 0
(10/08/16) (1638) Rate: 175 MLS/HR

10/08/16    2115 FIMCDEVD     Y                                      1           0.00
(10/08/16) (2221) Rate: 175 MLS/HR


  Adm.in Totals                                                      6                 0
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USER: MT                           Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN.MARIO, MD
Account Nwaber FA1307223089         Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M                 Rooa       411                Registered Date 10/07/16
Status         DIS IN               Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                           (Continued)


RING100010 - RINGERS SOLUTION.LACTATED 1,000 ML IV.SOLN - 1,000 ML

  Adiain Route IV CONT
  Site
  VolUlle      1,000        Rate 175 MLS/HR                        Duration 5 HR 43 MIN
  Start Date 10/09/16-0115         Stop Date None                   DC Date 10/10/16-0819
  Ordering Doctor      BHARGAVA,SURBHI MD
  Last Bag     0
  Total Dispensed      1           Total Costs Sl.43                 Total Charges S40.00
  Rx Nu:aber   001875584



  History
   10/09/16 0112 -    POM ORDER                      by COBHARGS
   10/09/16 0123 -    VERIFIED                       by FISPERAR
   10/09/16 0237 -    DEBIT                          by FISPERAR
        ITEMS: 1
   10/10/16 0115 -    RENEW STOP FILED               by SYSTEM
   10/10/16 0820 -    DISCONTINUE                    by COBORIKM      Eff: 10/10/16 0819
      EDIT DOCTOR:    BORIKAR,MADHURA S MD
      EDIT SOURCE:    Provider Source

Adm.in Date Tim.e User       Given Bag Reason Code                  Iten.s         Charge
10/09/16     0309 FIMCDEVD     y                                         1           0. 0 0
(10/09/16) ( 0115) Rate: 175 MLS/HR

10/09/16     0826 FIBRIGHM     y                                         1           0. 0 0
( 10/09/lb) (0658) Rate: 175 MLS/HR

10/09/16    1241 FIBRIGHM    y                                           1           0.00
(10/09/16) (1241) Rate: 175 MLS/HR
10/09/16    1829 FIBRIGHM    y                                           1           0. 0 0
(10/09/16) (1824) Rate: 175 MLS/HR
10/09/16    1959 FIMCDEVD     y                                          1           0. 0 0
(10/10/16) (0007) Rate: 175 MLS/HR

10/10/16    0147 FIMCDEVD     y                                          1           0.00
(10/10/16) (0550) Rate: 175 MLS/HR

10/10/16    0659 FIHOKEL      y                                          1           0. 0 0
                  Rate: 175 MLS/HR


 Ad:ain Totals                                                           7                 0
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DATE: 11/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 9
USER: MT                       Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN, MARIO, MD
Account H~rFA1307223089          Location     FI4PVA             Unit Humber      F001250247
Age/Sex       37/M               Roa•         411                Registered Date 10/07/16
Status        DIS IN             Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                             (Continued)


SODI15PB - SODIUM PHOSPHATE 12 MMOL/250 ML N55 - 250 ML

  Ach.in Route IV
  Site
  Volum.e      250          Rate 83.333 MLS/HR                     Duration 3 HR
  Start Date 10/10/16-0830         Stop Date 10/10/16 1429          DC Date 10/10/16-1429
  Total Volu.e to Infuse 500 mls
  Total Bags 2
  Ordering Doctor      BORIKAR,MADHURA S MD
  Last Bag     1
  Total Dispensed      2           Total Costs 56.88                 Total Charges $100.00
  Rx Nuaber    001876637

  Discontinue Collll.ents Reached Stop Date


  History
   10/10/16 0820 - POM ORDER                        by COBORIKM
   10/10/16 0823 - EDIT                             by FIANDERC
      FROM:
         DUPLICATE COMMENT:
      TO:
         DUPLICATE COMMENT: RPH
   10/10/16 0823 - VERIFIED                         by FIANDERC
      Items Dispensed: 1       Doses Dispensed:     1
       For:    10/10/16 - 0830
   10/10/16 0858 - DEBIT                            by FIANDERC
         ITEMS: 1
   10/10/16 1429 - DISCONTINUE                      by PHABKGJOB      Eff: 10/10/16 142 9
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           Reached Stop Date

Act.in Date Time User       Given Bag Reason Code                   Items         Charge
10/10/16    0948 FIHOKEL      Y                                         1           0. 0 0
(10/10/16) (0830) Rate: 83.333 MLS/HR

10/10/16    1359 FIHOKEL      Y                                         1           0.00
(10/10/16) (1130) Rate: 83.333 MLS/HR


  Admin Totals                                                          2                 0
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DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 10
USER: MT                        Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account HUllber · FAf3o7223089 ·   Location   FI4PVA             Unit Hwaber     F001250247
Age/Sex           37/M             Rooa       411                Registered Date 10/07/16
Status            DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                             (Continued)


RING100010 - RINGERS SOLUTION,LACTATED 1,000 ML IV.SOLN - 1,000 ML

  Ach.in Route IV CONT
  Site
  Volume       1,000        Rate 200 MLS/HR                        Duration 5 HR
  Start Date 10/10/16-0830         Stop Date None                   DC Date 10/11/16-1514
  Ordering Doctor      BORIKAR,MADHURA S MD
  Last Bag     0
  Total Dispensed      0           Total Costs S                     Total Charges S
  Rx Nu:aber   001876648



  History
   10/10/16 0820 -    POM ORDER                     by COBORIKM
   10/10/16 0823 -    VERIFIED                      by FIANDERC
   10/ll/16 0830 -    RENEW STOP FILED              by SYSTEM
   10/ll/16 1517 -    DISCONTINUE                   by COKUMARNI      Eff: 10/ll/16 1514
      EDIT DOCTOR:    KUMAR,NITISH MD
      EDIT SOURCE:    Provider Source

Adm.in Date Ti:ae User      Given Bag Reason Code                   I tells         Charge
10/10/16    0827 FIHOKEL      y                                           1           0. 0 0
(10/10/16) (0830) Rate: 200 MLS/HR

10/10/16     1400 FIHOI<EL     y                                         1            0.00
( 10/10/16) (1330) Rate: 200 MLS/HR

10/10/16    1841 FIYOUNGS     y                                          1            0. 0 0
(10/10/16) (1830) Rate: 200 MLS/HR

10/ll/16     0155 FIDAMATV     y                                         1            0. 0 0
( 10/10/16) (2330) Rate: 200 MLS/HR

10/ll/16    0445 FIDAMATV     y                                          1            0. 0 0
(10/ll/16) (0430) Rate: 200 MLS/HR

10/ll/16    0928 FIHOKEL     y                                           1            0. 0 0
(10/ll/16) (0930) Rate: 200 MLS/HR


  Ach.in Totals                                                          6                  0
             Case 2:18-cv-00924-PD        Document 15-4    Filed 05/03/18   Page 36 of 85
DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 11
USER: MT                          Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account HUJ.i::.e~FA1307223089     Location    FI4PVA             Unit Hum.her    F001250247
Age/Sex         37/M               Roo•        411                Registered Date 10/07/16
Status          DIS IN             Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                           (Continued)


PROP10VI9 - PROPOFOL 1000 MG/100 ML VIAL - 100 ML

  Atlllin Route IV CONT
  Site
  Voluae        100          Rate 0 MLS/HR                        Duration 0 SEC
  Frequency     .QOM (PRN) PAR= PRN REASON: Rass -1
  Start Date 10/10/16-2030          Stop Date None                 DC Date 10/14/16-0805
  Ordering Doctor       LERMAN,GABRIEL S DO
  Last Bag      0
  Total Dispensed       12          Total Costs $256.20             Total Charges $2112.00
  Rx Nu:aber    001877549

  Protocol
    ~Con~=d=i~t=ion~~~~~~~~~~~           Dose/Rate/Route           Instruction
    SEDATION                             START @5 MCG/KG/MIN       TITRATE TO RASS GOAL
    TITTRATION IF NEEDED                 5 MCG/KG/MIN QlOMIN
    MAXIMUM DOSE 50 MCG/KG/MIN

  Warnings
  Type:           MAINTENANCE
  Range:          PROPOFOL (10 MG/l ML)
  Condition:      ALL COMMON INDICATIONS
  Warnings           PROP10VI9: Unable to check dose ranges for MCG/KG/MIN (No Duration).




  History
   10/10/16 2021 - POM ORDER                        by COLERMAG
   10/10/16 2022 - VERIFIED                         by FILINC
   10/10/16 2036 - DEBIT                            by SYOUNG
        ITEMS: 1     DOSES: 1
   10/10/16 2048 - EDIT                             by FIYOUNGS
      FROM:
        TITRATION DOSE UNITS:
      TO:
        TITRATION DOSE UNITS: MCG/KG/MIN
   10/10/16 2048 - WEIGHT BASED DOSING          by FIYOUNGS
      Ordered Rate: 0 MCG/KG/MIN
      Calculated Patient Weight: 93 KG
           (Height:' 170.18 CM, Weight: 93 KG, Method: Actual Body Weight)
      Rate: 0 MLS/HR
   10/ll/16 0840 - DEBIT                        by LHOKE
        ITEMS: 1      DOSES: 1
   10/ll/16 1853 - DEBIT                        by SYOUNG
        ITEMS: 1      DOSES: 1
   10/12/16 0038 - DEBIT                        by VDAMATO
        ITEMS: 1      DOSES: 1
   10/12/16 0815 - DEBIT                        by LHOKE
             Case 2:18-cv-00924-PD        Document 15-4       Filed 05/03/18    Page 37 of 85
DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 12
USER: MT                          Medication Administration Summary

Patient                                           Resp:msible Doctor LITTMAN.MARIO, MD
Account Hu.aber n1307223009 ········ i~t.i..an   FI4PVA             Unit HUlllber   F001250247
Age/Sex         37/M                 Rcx:m       411                Registered Date 10/07/16
Status          DIS IN               Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                             (Continued)

        ITEMS: 1        DOSES: 1
   10/12/16 1632 -    DEBIT                            by MM CG ILL
        ITEMS: 1        DOSES: 1
   10/13/16 0119 -    DEBIT                            by VDAMATO
        ITEMS: 1        DOSES: 1
   10/13/16 0453 -    DEBIT                            by VDAMATO
        ITEMS: 1        DOSES: 1
   10/13/16 1121 -    DEBIT                            by LHOKE
        ITEMS: 1        DOSES: 1
   10/13/16 1647 -    DEBIT                            by MM CG ILL
        ITEMS: 1        DOSES: 1
   10/13/16 2025 -    DEBIT                            by MM CG ILL
        ITEMS: 1        DOSES: 1
   10/13/16 2030 -    RENEV STOP FILED                 by SYSTEM
   10/14/16 0541 -    DEBIT                            by VDAMATO
        ITEMS: 1        DOSES: 1
   10/14/16 0805 -    DISCONTINUE                      by COBORIKM      Eff: 10/14/16 0805
      EDIT DOCTOR:    BORIKAR,MADHURA S MD
      EDIT SOURCE:    Provider Source

Ad.Jain Date Tiae User       Given Bag Reason Code                    I tells         Charge
10/10/16     2047 FIYOUNGS     Y                                           1
  COSIGNED BY: FIKRETZJ
                   Rate: 5.58 MLS/HR

10/ll/16    0853 FIHOKEL       Y                                           1
  COSIGNED BY: FIPOVELL
                   Rate: 8.37 MLS/HR
10/ll/16    1910 FIYOUNGS     y                                            1
  COSIGNED BY: FINOGAT
                  Rate: 8.37 MLS/HR

10/12/16    0105 FIDAMATV      Y                                           1
  COSIGNED BY: FIBURKEC
                   Rate: 11.16 MLS/HR
10/12/16    1021 FIHOKEL       y                                           1
  COSIGNED BY: FIGILMAD
                   Rate: 11.16 MLS/HR

10/13/16    0203 FIDAMATV     Y                                            1
  COSIGNED BY: FICONNOJ
                  Rate: 16.74 MLS/HR

10/13/16    0502 FIDAMATV     Y                                            1
  COSIGNED BY: FICONNOJ
                  Rate: 16.74 MLS/HR
10/13/16      1126 FIHOKEL         y                                       1
             Case 2:18-cv-00924-PD          Document 15-4   Filed 05/03/18   Page 38 of 85
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USER: MT                           Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
Account Hllllher ·FAi3ci7223089   ····· iOC:aiion FI4PVA            Unit HUJ1.ber   F001250247
Age/Sex           37/M               Rooa        411                Registered Date 10/07/16
Status            DIS IN             Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                          (Continued)

  COSIGNED BV: FIGILMAD
                   Rate: 16.74 MLS/HR

10/13/16    1655 FIMCGILM     Y                                          1
  COSIGNED BV: FIBURKEK
                  Rate: 0 MLS/HR

10/14/16    0546 FIDAMATV     y                                          1
  COSIGNED BV: FIWRIGHC
                  Rate: 8.37 MLS/HR


  Adain Totals                                                          10
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USER: MT                            Medication Administration Summary

Patient                                             Resp:>nsible Doctor LITTMAN.MARIO, MD
Account HUJlber ·FAi3o72i3o89 ········ f.ocaiion   FI4PVA              Unit Hwaber     F001250247
Age/Sex          37/M                  Rooa        411                 Registered Date 10/07/16
Status           DIS IN                Bed         02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                            (Continued)

DEXM200V - DEXMEDETOMIDINE HCL 200 MCG/2 ML VIAL - 400 MCG (4 ML)
in SODI100I12 - SODIUM CHLORIDE 0.9% 100 ML IV.SOLN - 100 ML
  Adlain Route IV CONT
  Site
  VolUlle      104           Rate 0 MLS/HR                            Duration 0 SEC
  Frequency     .QOM (PRN) PAR= PRN REASON: RASS goal of 0
  Start Date 10/14/16-0845          Stop Date None                     DC Date 10/15/16-1415
  Ordering Doctor       LERMAN.GABRIEL S DO
  Last Bag     0
  Total Dispensed       9           Total Costs $580.86                 Total Charges $4878.00
  Rx Null.her  001881868
  Protocol
     =Co==n=d=i~t=io=n==-~~~~~~~~~- Dose/Rate/Route                    Instruction
     START@                         0.2 MCG/KG/HR                      TO RASS GOAL
     RATE CHANGES SHOULD BE         NO > 0.1 MCG/KG/HR                 Q 30 MIN
     MAX RATE                       1.2 MCG/KG/HR
     Text
     MUST BE ORDERED BY AN INTENSIVIST
  Varnings
  Type:             MAINTENANCE
  Range:            DEXMEDETOMIDINE HCL (200 MCG/2 ML)
  Condition:        ALL COMMON INDICATIONS
  Warnings             DEXM200V: Unable to check dose ranges for MCG/KG/HR (No Duration).




  History
   10/14/16 0846 - POM ORDER                    by COLERMAG
   10/14/16 0850 - EDIT                         by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/14/16 0850 - VERIFIED                     by FIANDERC
   10/14/16 0851 - DEBIT                        by FIANDERC
        ITEMS: 1
   10/14/16 0931 - EDIT                         by FIHOKEL
      FROM:
        TITRATION DOSE UNITS:
      TO:
        TITRATION DOSE UNITS: MCG/KG/HR
   10/14/16 0931 - WEIGHT BASED DOSING          by FIHOKEL
      Ordered Rate: 0 MCG/KG/HR
      Calculated Patient Weight: 93 KG
            (Height: 170.18 CM, Weight: 93 KG, Method: Actual Body Weight)
             Case 2:18-cv-00924-PD            Document 15-4        Filed 05/03/18    Page 40 of 85
DATE: ll/03/16 @ 0002                Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 15
USER: MT                              Medication Administration Summary

Patient                                            Responsible Doctor LITTMAN.MARIO, MD
Account NUllber ·FAi3ci7223089 · ·     Iocat:i..on FI4PVA            Unit NUlllber   F001250247
Age/Sex          37/M                  Rooa       411                Registered Date 10/07/16
Status           DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                                (Continued)

      Rate: 0 MLS/HR
   10/14/16 1044 - DEBIT                                    by FIANDERC
        ITEMS: 1
   10/14/16 1630 - DEBIT                                    by FILI NC
        ITEMS: 1
   10/14/16 2003 - DEBIT                                    by FIL INC
        ITEMS: 1
   10/14/16 2310 - DEBIT                                    by FISACKSM
        ITEMS: 1
   10/15/16 0243 - DEBIT                                    by FISACKSM
        ITEMS: 1
   10/15/16 0437 - DEBIT                                    by FISACKSM
        ITEMS: 1
   10/15/16 0845 - RENEW STOP FILED                         by SYSTEM
   10/15/16 1012 - DEBIT                                    by FI HARK IE
        ITEMS: 1
   10/15/16 1201 - DEBIT                                    by FI HARK IE
        ITEMS: 1
   10/15/16 1416 - DISCONTINUE                              by COZHANGH       Eff: 10/15/16 1415
      EDIT DOCTOR: ZHANG,HONGYU MD
      EDIT SOURCE: Provider Source
   10/15/16 1416 - POM COPY AND EDIT                        by COZHANGH
      TO: Rx #U001137530
Adm.in Date Tim.e User       Given Bag Reason Code                          Iten.s         Charge
10/14/16    0931 FIHOKEL       y                                                 1
  COSIGNED BY: FIDALISAl
                   Rate: 4.83 MLS/HR
10/14/16    1313 FIHOKEL       y                                                1
  COSIGNED BY: FIBOWERA
                   Rate: 29.01 MLS/HR
10/14/16    1651 FIHOKEL       y                                                1
  COSIGNED BY: FIB OW ERA
                   Rate: 29.01 MLS/HR
10/14/16    2019 FIMCCORJ     y                                                 1
  COSIGNED BY: FIBURKEC
                  Rate: 29.01 MLS/HR
10/14/16    2337 FIMCCORJ      Y                                                1
  COSIGNED BY: FIZIMMEC
                   Rate: 29.01 MLS/HR

10/15/16    0306 FIMCCORJ      Y                                                1
  COSIGNED BY: FISTARRM
                   Rate: 29.01 MLS/HR
           Case 2:18-cv-00924-PD         Document 15-4   Filed 05/03/18    Page 41 of 85
DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 16
USER: MT                        Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account Humber· FAi307223o89 ·   iocation    FI4PVA             Unit HW1.ber    F001250247
lge/Sex         37/M              Roo•       411                Registered Date 10/07/16
Status          DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)

  Act.in Totals                                                        6


RING100010 - RINGERS SOLUTION,LACTATED l,000 ML IV.SOLN - 1,000 ML

  Act.in Route IV CONT
  Site
  Volu.e       1,000        Rate 100 MLS/HR                      Duration 10 HR
  Start Date 10/14/16-1130         Stop Date None                 DC Date 10/15/16-1141
  Ordering Doctor      AHANGAR,WASEEM MD
  Last Bag     0
  Total Dispensed      0           Total Costs S                   Total Charges S
  Rx Nuaber    001882114



  History
   10/14/16 1131 -    POM ORDER                    by COAHANGW
   10/14/16 1134 -    VERIFIED                     by FIREALID
   10/15/16 1130 -    RENEW STOP FILED             by SYSTEM
   10/15/16 1142 -    DISCONTINUE                  by COZHANGH      Eff: 10/15/16 1141
      EDIT DOCTOR:    ZHANG,HONGYU MD
      EDIT SOURCE:    Provider Source
Admin Date Tiae User        Given Bag Reason Code                 Iten.s         Charge
10/14/16    1225 FIHOKEL      Y                                        1           0.00
(10/14/16) (1130) Rate: 100 MLS/HR

10/14/16    2008 FIMCCORJ     Y                                       1            0. 0 0
(10/14/16) (2130) Rate: 100 MLS/HR

10/15/16    0806 FIBEURKH     Y                                       1            0. 0 0
(10/15/16) (0730) Rate: 100 MLS/HR


  Adm.in Totals                                                       3                  0
             Case 2:18-cv-00924-PD      Document 15-4      Filed 05/03/18   Page 42 of 85
DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 17
USER: MT                       Medication Administration Summary
Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account u~ Fii.f3o7223o89        iocat.:i.~n   FI4PVA             Unit Nllllber   F001250247
Age/Sex    37/M                  Rooa          411                Registered Date 10/07/16
Status     DIS IN                Bed           02                 Discharged Date ll/Ol/16
EFUNNUGA,OLUTOKUNBO                FA1307223089                             (Continued)

DEXM200V - DEXMEDETOMIDINE HCL 200 MCG/2 ML VIAL - 400 MCG (4 ML)
in SODI100Il2 - SODIUM CHLORIDE 0.9% 100 ML IV.SOLN - 100 ML
  Adain Route IV CONT
  Site
  Volu.e      104           Rate 0 MLS/HR                         Duration 0 SEC
  Frequency    .QOM (PRN) PAR= PRN REASON: RASS goal of 0
  Start Date 10/15/16-1415         Stop Date None                  DC Date 10/16/16-2215
  Ordering Doctor      ZHANG,HONGYU MD
  Last Bag    0
  Total Dispensed      8           Total Costs $516.32              Total Charges $4336.00
  Rx Nuaber   001883033
  Protocol
    ~Con~=d=i~t=ion~~~~~~~~~~~     Dose/Rate/Route                 Instruction
    START@                         0.2 MCG/KG/HR                   TO RASS GOAL
    RATE CHANGES SHOULD BE         NO > 0.1 MCG/KG/HR              Q 30 MIN
    MAX RATE                       1.2 MCG/KG/HR
    Text
    MUST BE ORDERED BY AN INTENSIVIST

  Varnings
  Type:           MAINTENANCE
  Range:          DEXMEDETOMIDINE HCL (200 MCG/2 ML)
  Condition:      ALL COMMON INDICATIONS
  Warnings           DEXM200V: Unable to check dose ranges for MCG/KG/HR (No Duration).


  Discontinue Collllllents Reached Renew Stop Date


 History
  10/15/16 1416 - POM COPY AND EDIT            by COZHANGH
     FROM: Rx #001881868
  10/15/16 1443 - EDIT                         by FIJASINT
     FROM:
       DUPLICATE COMMENT:
     TO:
       DUPLICATE COMMENT: RPH
  10/15/16 1443 - VERIFIED                     by FIJASINT
  10/15/16 1523 - EDIT                         by FIBEURKH
     FROM:
       TITRATION DOSE UNITS:
     TO:
       TITRATION DOSE UNITS: MCG/KG/HR
  10/15/16 1523 - WEIGHT BASED DOSING          by FIBEURKH
     Ordered Rate: 0 MCG/KG/HR
     Calculated Patient Weight: 93 KG
           (Height: 170.18 CM. Weight: 93 KG, Method: Actual Body Weight)
             Case 2:18-cv-00924-PD          Document 15-4      Filed 05/03/18   Page 43 of 85
DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 18
USER: MT                           Medication Administration Summary
Patient                                            Responsible Doctor LITTMAN,MARIO, MD
Account HUllJ:ler FAi:fo7223089        Location   FI4PVA             Unit Number     F001250247
Age/Sex           37/M                 Rooa       411                Registered Date 10/07/16
Status            DIS IN               Bed        02                 Discharged Date ll/Ol/16
EFUNNUGA,OLUTOKUNBO                      FA1307223089                           (Continued)
      Rate: 0 MLS/HR
   10/15/16 1545 - DEBIT                                by FIKOPPJ
        ITEMS: 1
   10/15/16 1832 - DEBIT                                by FIJASINT
        ITEMS: 1
   10/16/16 0040 - DEBIT                                by FISACKSM
        ITEMS: 1
   10/16/16 0545 - DEBIT                                by FISACKSM
        ITEMS: 1
   10/16/16 0917 - DEBIT                                by FIHARI<IE
        ITEMS: 1
   10/16/16 1148 - DEBIT                                by FI HARK IE
        ITEMS: 1
   10/16/16 1415 - RENEW STOP FILED                     by SYSTEM
   10/16/16 1610 - DEBIT                                by FIJASINT
        ITEMS: 1
   10/16/16 1821 - DEBIT                                by FIJASINT
        ITEMS: 1
   10/16/16 2215 - DISCONTINUE                          by RENEW STOP    Eff: 10/16/16 2215
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Renew Stop Date

Admin Date Tiae User        Given Bag Reason Code                       Items         Charge
10/15/16    1523 FIBEURKH     Y                                             1
  COSIGNED BY: FIBRIGHM
                  Rate: 29.01 MLS/HR
10/15/16    2305 FIREVAKN      Y                                            1
  COSIGNED BY: FIBANGY
                   Rate: 29.01 MLS/HR
10/16/16    1222 FIBEURKH          y                                        1
  COSIGNED BY: FIMAXWEM
                    Rate: 29.01 MLS/HR

10/16/16    2210 FIREVAKN     y                                             1
  COSIGNED BY: FIIFFRIN
                  Rate: 29.01 MLS/HR

  Adin.in Totals                                                            4
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DATE: 11/03/16 @ 0002              Mercy Fitzgerald Hospital FHA *LIVE*                         PAGE 19
USER: MT                            Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN.MARIO, MD
Account Nl.uu::ier FAi3b7223ciB9     Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex            37/M              Rooa       411                Registered Date 10/07/16
Status             DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                           (Continued)

SODI100019 - SODIUM CHLORIDE 0.9% 1,000 ML IV.SOLN - 1,000 ML

  Act.in Route IV CONT
  Site
  Voluae       1,000        Rate 100 MLS/HR                         Duration 10 HR
  Start Date 10/16/16-1100         Stop Date None                    DC Date 10/17/16-1112
  Ordering Doctor      ZHANG,HONGYU MD
  Last Bag     0
  Total Dispensed      0           Total Costs $                      Total Charges $
  Rx Number    001883698



  History
   10/16/16 1110 - POM ORDER                          by COZHANGH
   10/16/16 1121 - EDIT                               by FIJASINT
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/16/16 1121 - VERIFIED                           by FIJASINT
   10/17/16 1100 - RENEW STOP FILED                   by SYSTEM
   10/17/16 1116 - DISCONTINUE                        by COBORIKM      Eff: 10/17/16 1112
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source

Admin Date Tiae User        Given Bag Reason Code                    Iten.s         Charge
10/16/16    1201 FIBEURKH     Y                                           1           0. 0 0
(10/16/16) (1100) Rate: 100 MLS/HR

10/16/16    1955 FIREVAKN    Y                                            1             0.00
(10/16/16) (2100) Rate: 100 MLS/HR
10/17/16    0444 FIREVAKN     Y                                           1             0.00
(10/17/16) (0700) Rate: 100 MLS/HR

  Ad.Jain Totals                                                          3                 0
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DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 20
USER: MT                         Medication Administration Summary
Patient                                       Responsible Doctor LITTMAN.MARIO, MD
Account Nllllher.FAi3b7223o89     Location   FI4PVA             Unit Nuaber     F001250247
Age/Sex          37/M             Rooa       411                Registered Date 10/07/16
Status           DIS IN           Bed        02                 Discharged Date ll/Ol/16
EFUNNUGA,OLUTOKUNBO                 FA1307223089                          (Continued)

DEXM200V - DEXMEDETOMIDINE HCL 200 MCG/2 ML VIAL - 400 MCG (4 ML)
in SODI100I12 - SODIUM CHLORIDE 0.9% 100 ML IV.SOLN - 100 ML
  Adain Route IV CONT
  Site
  Voluae      104           Rate 0 MLS/HR                        Duration 0 SEC
  Frequency   .QOM (PRN) PAR= PRN REASON: RAS GOAL OF 0
  Start Date 10/16/16-2300         Stop Date None                DC Date 10/18/16-0700
  Ordering Doctor     MALIK,AMMAR M MD
  Last Bag    0
  Total Dispensed     10           Total Costs $645.40             Total Charges $5420.00
  Rx Nullber  001884137
  Protocol
    ~Co==n=d=i~t=ion==~~~~~~~~~~   Dose/Rate/Route               Instruction
    START@                         0.2 MCG/KG/HR                 TO RASS GOAL
    RATE CHANGES SHOULD BE         NO > 0.1 MCG/KG/HR            Q 30 MIN
    MAX RATE                       1.2 MCG/KG/HR
    Text
    MUST BE ORDERED BY AN INTENSIVIST
  Varnings
  Type:           MAINTENANCE
  Range:          DEXMEDETOMIDINE HCL (200 MCG/2 ML)
  Condition:      ALL COMMON INDICATIONS
  Warnings           DEXM200V: Unable to check dose ranges for MCG/KG/HR (No Duration).

  Discontinue Colaaents Reached Renew Stop Date


  History
   10/16/16 2252 - POM ORDER                       by COMALIA
   10/16/16 2305 - EDIT                            by FISACKSM
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/16/16 2305 - VERIFIED                        by FISACKSM
   10/16/16 2318 - DEBIT                           by FISACKSM
        ITEMS: 1
   10/17/16 0238 - DEBIT                           by FISACKSM
        ITEMS: 1
   10/17/16 0315 - EDIT                            by FIREVAKN
      FROM:
        TITRATION DOSE UNITS:
      TO:
        TITRATION DOSE UNITS: MCG/KG/HR
   10/17/16 0315 - WEIGHT BASED DOSING             by FIREVAKN
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USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Humber FA1J0722J089     Location    FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M             Roca        411                Registered Date 10/07/16
Status         DIS IN           Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                          (Continued)

      Ordered Rate: 0 MCG/KG/HR
      Calculated Patient Weight: 93 KG
            (Height: 170.18 CM, Weight: 93 KG, Method: Actual Body Weight)
      Rate: 0 MLS/HR
   10/17/16 0624 - DEBIT                        by FISACKSM
        ITEMS: 1
   10/17/16 1001 - DEBIT                        by FICARSOM
        ITEMS: 1
   10/17/16 1325 - DEBIT                        by FIL INC
        ITEMS: 1
   10/17/16 1648 - DEBIT                        by FIL INC
        ITEMS: 1
   10/17/16 2014 - DEBIT                        by FIL INC
        ITEMS: 2
   10/17/16 2300 - RENEW STOP FILED             by SYSTEM
   10/18/16 0126 - DEBIT                        by FISPERAR
        ITEMS: 1
   10/18/16 0512 - DEBIT                        by FISPERAR
        ITEMS: 1
   10/18/16 0700 - DISCONTINUE                  by RENEW STOP   Eff: 10/18/16 0700
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Renew Stop Date

A.chain Date Tiae User       Given Bag Reason Code              I tells         Charge
10/17/16     0315 FIREVAKN     Y                                     1
   COSIGNED BY: FIYOUNGS
                   Rate: 29.01 MLS/HR

10/17/16    0639 FIREVAKN      Y                                     1
  COSIGNED BY: FIFALKEC
                   Rate: 29.01 MLS/HR

10/17/16    1341 FIMCCARD     Y                                      1
  COSIGNED BY: FIDALISAl
                  Rate: 29.01 MLS/HR
10/17/16    2042 FIROSSIA     y                                      1
  COSIGNED BY: FIMCCORJ
                  Rate: 30 MLS/HR

10/17/16    2343 FIROSSIA     Y                                      1
  COSIGNED BY: FIMCCORJ
                  Rate: 29.01 MLS/HR

10/18/16    0316 FIROSSIA     y                                      1
  COSIGNED BY: FIMCCORJ
                  Rate: 30 MLS/HR
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USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account NUllber FA1307223089     Location   FI4PVA             Unit NUJ1.ber   F001250247
Age/Sex         37/M             Roo•       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                            (Continued)


10/18/16    0657 FIROSSIA     y                                         1
  COSIGNED BY: FIMCCORJ
                  Rate: 30 MLS/HR


  Ad•in Totals                                                          7


SODI100013 - SODIUM CHLORIDE 0.45% 1,000 ML IV.SOLN - 1,000 ML

  Adain Route IV CONT
  Site
  Voluae      1,000        Rate 100 MLS/HR                         Duration 10 HR
  Start Date 10/17/16-1115        Stop Date None                    DC Date 10/18/16-1915
  Ordering Doctor     BORIKAR,MADHURA S MD
  Last Bag    0
  Total Dispensed     0           Total Costs $                      Total Charges $
  Rx Nuaber   001884748

  Discontinue Comments Reached Renew Stop Date


  History
   10/17/16 1116 - POM ORDER                       by COBORIKM
   10/17/16 1118 - VERIFIED                        by FIREALID
   10/18/16 1115 - RENEW STOP FILED                by SYSTEM
   10/18/16 1915 - DISCONTINUE                     by RENEW STOP      Eff: 10/18/16 1915
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Renew Stop Date

Achlin Date Till.9 User      Given Bag Reason Code                  Items         Charge
10/17/16     115 9 FI MCCARD   y                                        1           0.00
(10/17/16) ( 1115) Rate: 100 MLS/HR

10/17/16    2109 FIROSSIA     y                                         1              0.00
(10/17/16) (2115) Rate: 100 MLS/HR

10/18/16    0655 FIROSSIA     y                                         1              0.00
(10/18/16) (0715) Rate: 100 MLS/HR

10/18/16    1636 FIBURKEK    y                                          1              0. 0 0
(10/18/16) (1715) Rate: 100 MLS/HR


  Adain Totals                                                          4                  0
             Case 2:18-cv-00924-PD     Document 15-4      Filed 05/03/18   Page 48 of 85
DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 23
USER: MT                        Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO. MD
Account Huaber FA13072i3089      Lcico.tion   FI4PVA             Unit Hwaber     F001250247
Age/Sex        37/M              Rooa         411                Registered Date 10/07/16
Status         DIS IN            Bed          02                 Discharged Date ll/Ol/16
EFUNNUGA.OLUTOKUNBO                FA1307223089                            (Continued)

DEXM200V - DEXMEDETOMIDINE HCL 200 MCG/2 ML VIAL - 800 MCG (8 ML)
in SODI250Il2 - SODIUM CHLORIDE 0.9% 250 ML IV.SOLN - 200 ML
  Adain Route IV CONT
  Site
  Voluae      208          Rate 0 MLS/HR                         Duration 0 SEC
  Frequency   .QOM (PRN) PAR= PRN REASON: AG - AGITATION
  Start Date 10/18/16-0830        Stop Date None                  DC Date 10/19/16-1035
  Ordering Doctor     LOZADA,JAMES A MD
  Last Bag    0
  Total Dispensed     4           Total Costs $511.84              Total Charges $4298.00
  Rx Number   001885827
  Protocol
    ~Co~n=d=i~t=io=n~~~~~~~~~~-    Dose/Rate/Route                Instruction
    START@                          0.2 MCG/KG/HR                 TO RASS GOAL
    RATE CHANGES SHOULD BE         NO > 0.1 MCG/KG/HR             Q 30 MIN
    MAX RATE                       1.2 MCG/KG/HR
    Text
    MUST BE ORDERED BY AN INTENSIVIST

  Varnings
  Type:           MAINTENANCE
  Range:          DEXMEDETOMIDINE HCL (200 MCG/2 ML)
  Condition:      ALL COMMON INDICATIONS
  Warnings           DEXM200V: Unable to check dose ranges for MCG/KG/HR (No Duration).



  History
   10/18/16 0819 - POM ORDER                       by COLOZADJ
   10/18/16 0821 - EDIT                            by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/18/16 0821 - VERIFIED                     by FIANDERC
   10/18/16 0821 - DEBIT                        by FIANDERC
        ITEMS: 1
   10/18/16 0852 - EDIT                         by FIGILMAD
      FROM:
        TITRATION DOSE UNITS:
      TO:
        TITRATION DOSE UNITS: MCG/KG/HR
   10/18/16 0852 - WEIGHT BASED DOSING          by FIGILMAD
      Ordered Rate: 0 MCG/KG/HR
      Calculated Patient Weight: 93 KG
            (Height: 170.18 CM. Weight: 93 KG. Method: Actual Body Weight)
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USER: MT                      Medication Administration Summary
Patient                                       Responsible Doctor LITTMAN.MARIO, MD
Account H~FA1307223089         iocat:.i;;n   FI4PVA             Unit Hum.her    F001250247
Age/Sex      37/M               Rooa         411                Registered Date 10/07/16
Status       DIS IN             Bed          02                 Discharged Date ll/Ol/16
EFUNNUGA,OLUTOKUNBO                  FA1307223089                          (Continued)
      Rate: 0 MLS/HR
   10/18/16 1631 - DEBIT                            by FILINC
        ITEMS: 1
   10/18/16 2044 - DEBIT                            by FILINC
        ITEMS: 1
   10/19/16 0207 - DEBIT                            by FISPERAR
        ITEMS: 1
   10/19/16 0830 - RENEW STOP FILED                 by SYSTEM
   10/19/16 1036 - DISCONTINUE                      by COBORIKM     Eff: 10/19/16 1035
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source
   10/19/16 1036 - POM COPY AND EDIT                by COBORIKM
      TO: Rx #U001140252
Admin Date Tia.e User       Given Bag Reason Code                 Items          Charge
10/18/16    0852 FIGILMAD     Y                                       1
  COSIGNED BY: FIHOKEL
                  Rate: 29.01 MLS/HR
10/18/16    1144 FIGILMAD     y                                       1
  COSIGNED BY: FIDALISAl
                  Rate: 29.01 MLS/HR
10/18/16    1816 FIBURKEK      Y                                      1
  COSIGNED BY: FICAMPBD
                   Rate: 29.01 MLS/HR

10/19/16    0149 FIROSSIA      y                                      1
  COSIGNED BY: FIDAMATV
                   Rate: 30 MLS/HR
10/19/16    0904 FIGILMAD      Y                                      1
  COSIGNED BY: FIPOWELL
                   Rate: 29.01 MLS/HR

  AdJain Totals                                                       5
            Case 2:18-cv-00924-PD      Document 15-4      Filed 05/03/18     Page 50 of 85

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USER: MT                        Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FAi3o7223089       Location     FI4PVA             Unit Hwaber     F001250247
Age/Sex        37/M               RCXJa        411                Registered Date 10/07/16
Status         DIS IN             Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 F.A.1307223089                           (Continued)


SODI100013 - SODIUM CHLORIDE 0.45% l,000 ML IV.SOLN - 1,000 ML

  Acbain Route IV CONT
  Site
  Voluae       l,000        Rate 100 MLS/HR                         Duration 10 HR
  Start Date 10/18/16-2045         Stop Date 10/19/16 2044           DC Date 10/19/16-2044
  Ordering Doctor      MALIK,AMMAR M MD
  Last Bag     0
  Total Dispensed      0           Total Costs S                      Total Charges $
  Rx Number    001886751

  Discontinue Colllll.ents Reached Stop Date


  History
   10/18/16 2044 - POM ORDER                         by COM.A.LIA
   10/18/16 2045 - VERIFIED                          by FISPERAR
   10/19/16 2044 - DISCONTINUE                       by PHABKGJOB      Eff: 10/19/16 204 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Ad11.in Date Tim.e User     Given Bag Reason Code                    Items         Charge
10/18/16     2052 FIROSSIA    y                                          1           0.00
(10/18/16) (2045) Rate: 100 MLS/HR

10/19/16    0506 FIROSSIA     y                                          1              0. 0 0
(10/19/16) (0645) Rate: 100 MLS/HR

10/19/16    1452 FIGILMAD     y                                          1              0.00
(10/19/16) (1645) Rate: 100 MLS/HR


  Achin Totals                                                           3                  0
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DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 26
USER: MT                       Medication Administration Summary
Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Nuaber FA1307223089     Lcx;ation   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M             Rooa        411                Registered Date 10/07/16
Status         DIS IN           Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)

DEXM200V - DEXMEDETOMIDINE HCL 200 MCG/2 ML VIAL - 800 MCG (8 ML)
in SODI250I12 - SODIUM CHLORIDE 0.9% 250 ML IV.SOLN - 200 ML
  Adiain Route IV CONT
  Site
  Volu.e       208          Rate 0 MLS/HR                      Duration 0 SEC
  Frequency    .QOM (PRN) PAR= PRN REASON: AG - AGITATION
  Start Date 10/19/16-1034         Stop Date None               DC Date 10/20/16-1046
  Ordering Doctor      BORIKAR,MADHURA S MD
  Last Bag     0
  Total Dispensed      2           Total Costs $255.92           Total Charges $2149.00
  Rx Nu:aber   001887423
  Protocol
    Condition                      Dose/Rate/Route              Instruction
    START @                         0.2 MCG/KG/HR               TO RASS GOAL
    RATE CHANGES SHOULD BE         NO > 0.1 MCG/KG/HR           Q 30 MIN
    MAX RATE                       1.2 MCG/KG/HR
    Text
    MUST BE ORDERED BY AN INTENSIVIST

  Varnings
  Type:          MAINTENANCE
  Range:         DEXMEDETOMIDINE HCL (200 MCG/2 ML)
  Condition:     ALL COMMON INDICATIONS
  Warnings          DEXM200V: Unable to check dose ranges for MCG/KG/HR (No Duration).



 History
  10/19/16 1036 - POM COPY AND EDIT            by COBORIKM
     FROM: Rx #001885827
  10/19/16 1050 - EDIT                         by FIREALID
     FROM:
       DUPLICATE COMMENT:
     TO:
       DUPLICATE COMMENT: RPH
  10/19/16 1051 - VERIFIED                     by FIREALID
  10/19/16 1152 - EDIT                         by FIGILMAD
     FROM:
       TITRATION DOSE UNITS:
     TO:
       TITRATION DOSE UNITS: MCG/KG/HR
  10/19/16 1152 - WEIGHT BASED DOSING          by FIGILMAD
     Ordered Rate: 0 MCG/KG/HR
     Calculated Patient Weight: 93 KG
           (Height: 170.18 CM, Weight: 93 KG, Method: Actual Body Weight)
     Rate: 0 MLS/HR
           Case 2:18-cv-00924-PD        Document 15-4     Filed 05/03/18      Page 52 of 85

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USER: MT                        Medication Administration Summary
Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account HUllber.FAi3o7223089     iOC:aiion FI4PVA              Unit Number     F001250247
.lge/Sex        37/M             Rooa       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                               (Continued)
   10/19/16 1655 - DEBIT                            by FILINC
        ITEMS: 1
   10/20/16 0218 - DEBIT                            by FISPERAR
        ITEMS: 1
   10/20/16 1034 - RENEW STOP FILED                 by SYSTEM
   10/20/16 1046 - DISCONTINUE                      by COCH0li1DJ     Eff: 10/20/16 1046
      EDIT DOCTOR: CHOWDHURY,JUNAD MD
      EDIT SOURCE: Provider Source
   10/20/16 1046 - POM COPY AND EDIT                by COCHOli1DJ
      TO: Rx #U001141123

Adll.in Date Tiae User       Given Bag Reason Code                  I tells         Charqe
10/19/16     1152 FIGILMAD     Y                                          1
  COSIGNED BY: FIPOli1ELL
                   Rate: 24.18 MLS/HR
10/19/16    1709 FIDONAHS     Y                                          1
  COSIGNED BY: FIBRIGHM
                  Rate: 19.34 MLS/HR
10/20/16    0310 FIMCDEVD     Y                                          1
  COSIGNED BY: FIIFFRIN
                  Rate: 19.34 MLS/HR


  Adm.in Totals                                                          3
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DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 28
USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089     Location   FI4PVA             Unit Nuaber     F001250247
Age/Sex        37/M             Rooa       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)


50DI100019 - SODIUM CHLORIDE 0.9% 1,000 ML IV.SOLN - 1,000 ML

  Adain Route IV CONT
  Site
  Voluae      1,000        Rate 100 MLS/HR                     Duration 10 HR
  Start Date 10/19/16-2330        Stop Date None                DC Date 10/19/16-2338
  Ordering Doctor     PATEL,SANSKRUTI MD
  Last Bag    0
  Total Dispensed     0           Total Costs $                  Total Charges $
  Rx Nuaber   001888309



  History
   10/19/16 2320 - POM ORDER                     by COPATESA
   10/19/16 2330 - EDIT                          by FISPERAR
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: BS
   10/19/16 2330 - VERIFIED                      by FISPERAR
   10/19/16 2342 - DISCONTINUE                   by COKHINEP      Eff: 10/19/16 2338
      EDIT DOCTOR: KHINE,PWINT P DO
      EDIT SOURCE: Provider Source

Adll.in Date Time User      Given Bag Reason Code               Item.s         Charge
10/19/16     2330 FIMCDEVD    N       DC
(10/19/16) (2330) Rate: 0 MLS/HR


  Admin Totals
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DATE: ll/03/16 @ 0002                   Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 29
USER: MT                                 Medication Administration Summary

Patient                                                 Responsible Doctor LITTMAN,MARIO, MD
Account Hu.Jlber · F.i\.f3 07223 08 9     iocai:i..c::ln FI4PVA           Unit HWllber    F001250247
Age/Sex            37/M                   Rooa         411                Registered Date 10/07/16
Status             DIS IN                 Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                         FA1307223089                               (Continued)


SODI100013 - SODIUM CHLORIDE 0.45% 1.000 ML IV.SOLN - 1,000 ML

  Adm.in Route IV CONT
  Site
  VolUlle      1.000        Rate 100 MLS/HR                                   Duration 10 HR
  Start Date 10/19/16-2345           Stop Date None                            DC Date 10/20/16-1045
  Ordering Doctor      KHINE,PliJINT P DO
  Last Bag     0
  Total Dispensed      0             Total Costs S                              Total Charges S
  Rx Nu:aber   001888328



  History
   10/19/16 2342 -       POM ORDER                            by COKHINEP
   10/19/16 2358 -       VERIFIED                             by FISPERAR
   10/20/16 1046 -       DISCONTINUE                          by COCHOliJDJ     Eff: 10/20/16 1045
      EDIT DOCTOR:       CHOliJDHURY.JUNAD MD
      EDIT SOURCE:       Provider Source

Admin Date Time User        Given Bag Reason Code                              Items         Charge
10/20/16    0013 FIMCDEVD     Y                                                    1           0. 0 0
(10/19/16) (2345) Rate: 100 MLS/HR


  Ad.lain Totals                                                                   1                 0
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USER: MT                        Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN.MARIO, MD
Account Hwa.her FA1307223089     Loco.tion   FI4PVA             Unit Nu.her     F001250247
Age/Sex         37/M             Rooa        411                Registered Date 10/07/16
Status          DIS IN           Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)

DEXM200V - DEXMEDETOMIDINE HCL 200 MCG/2 ML VIAL - 800 MCG (8 ML)
in SODI250I12 - SODIUM CHLORIDE 0.9Y. 250 ML IV.SOLN - 200 ML
  Adain Route IV CONT
  Site
  VolUlle     208           Rate 0 MLS/HR                        Duration 0 SEC
  Frequency    .QOM (PRN) PAR= PRN REASON: AG - AGITATION
  Start Date 10/20/16-1045         Stop Date None                DC Date 10/21/16-1000
  Ordering Doctor      CHOWDHURY,JUNAD MD
  Last Bag    0
  Total Dispensed      0           Total Costs S                   Total Charges S
  Rx Nuaber   001888812

  Protocol
    ~Con~~d~i~t=io=n~~~~~~~~~~-    Dose/Rate/Route               Instruction
    START @                         0 . 2 MCG/KG/HR              TO RASS GOAL
    RATE CHANGES SHOULD BE         NO > 0.1 MCG/KG/HR            Q 30 MIN
    MAX RATE                       1.2 MCG/KG/HR
    Text
    MUST BE ORDERED BY AN INTENSIVIST

  Warnings
  Type:           MAINTENANCE
  Range:          DEXMEDETOMIDINE HCL (200 MCG/2 ML)
  Condition:      ALL COMMON INDICATIONS
  Warnings           DEXM200V: Unable to check dose ranges for MCG/KG/HR (No Duration).




  History
   10/20/16 1046 - POM COPY AND EDIT               by COCHOWDJ
      FROM: Rx #001887423
   10/20/16 1048 - EDIT                            by FIREALID
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/20/16 1048 - VERIFIED                       by FIREALID
   10/21/16 1001 - DISCONTINUE                    by COHOWLAA      Eff: 10/21/16 1000
      EDIT DOCTOR: HOWLAND.AMANDA R MD
      EDIT SOURCE: Provider Source
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DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                                PAGE 31
USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Nu.her :Fi..i3oi2i3089 ····· Location   FI4PVA             Unit NW8.ber     F001250247
Age/Sex        37/M                  ROCD.      411                Registered. Date 10/07/16
Status         DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA13 0722308 9                             (Continued)


SODI100019 - SODIUM CHLORIDE 0.9% 1,000 ML IV.SOLN - 1,000 ML

  Adllin Route IV CONT
  Site
  Volu.e       1,000       Rate 1,000 MLS/HR                           Duration 1 HR
  Start Date 10/20/16-1200         Stop Date 10/20/16 1259              DC Date 10/20/16-1259
  Ordering Doctor      CHOWDHURY,JUNAD MD
  Last Bag     0
  Total Dispensed      0           Total Costs $                         Total Charges $
  Rx Nu.ber    001888897

  Discontinue Coiuaents Reached Stop Date


  History
   10/20/16 1148 - POM ORDER                           by COCHO\o1DJ
   10/20/16 1151 - EDIT                                by FIREALID
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/20/16 1151 - VERIFIED                            by FIREALID
   10/20/16 1259 - DISCONTINUE                         by PHABKGJOB       Ef f: 10/20/16 125 9
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Adm.in Date Time User       Given Bag Reason Code                       Iten.s         Charge
10/20/16    1211 FIGILMAD     Y                                             1              0. 0 0
(10/20/16) (1200) Rate: 1,000 MLS/HR


  Admin Totals                                                              1                  0
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USER: MT                      Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
A=unt Nu.her FA13072230B9        L~iion     FI4PVA             Unit Nu..ber     F001250247
Age/Sex      37/M                Rooa       411                Registered. Date 10/07/16
Status       DIS IN              Bed        02                 Discharged. Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)


SODI500I21 - SODIUM CHLORIDE 0.9% 500 ML IV.SOLN - 500 ML

 Ach.in Route IV CONT
 Site
 Voluae       500          Rate 1,000 MLS/HR                     Duration 30 MIN
 Start Date 10/20/16-1915         Stop Date 10/20/16 1944         DC Date 10/20/16-1944
 Ordering Doctor      GEVORGYAN,DAVID MD
 Last Bag     0
 Total Dispensed      0           Total Costs $                    Total Charges $
 Rx Nu:aber   001889326

  Discontinue Coam.ents Reached Stop Date


  History
   10/20/16 1914 - POM ORDER                      by COGEVORD
   10/20/16 1916 - VERIFIED                       by FILINC
   10/20/16 1944 - DISCONTINUE                    by PHABKGJOB     Eff: 10/20/16 194 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

ldJain Date Tiae User       Given Bag Reason Code                I tells         Charge
10/20/16    1929 FIDONAHS     Y                                       1            0. 0 0
(10/20/16) (1915) Rate: l,000 MLS/HR


 A.ch.in Totals                                                       1                  0
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USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089      Location   FI4PVA             Unit HUJt.ber   F001250247
Age/Sex        37/M              Roo11.     411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                             (Continued)


SODI100019 - SODIUM CHLORIDE 0.9% 1,000 ML IV.SOLN - 1,000 ML

  Adll.in Route IV CONT
  Site
  Voluae        1,000        Rate 1,000 MLS/HR                   Duration 1 HR
  Start Date 10/20/16-2215          Stop Date 10/20/16 2314       DC Date 10/20/16-2314
  Ordering Doctor       GEVORGYAN,DAVID MD
  Last Bag      0
  Total Dispensed       0           Total Costs $                  Total Charges $
  Rx Nuaber     001889441

  Discontinue Coaaents Reached Stop Date


  History
   10/20/16 2203 - POM ORDER                      by COGEVORD
   10/20/16 2207 - EDIT                           by FISPERAR
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: BS
   10/20/16 2207 - VERIFIED                       by FISPERAR
   10/20/16 2314 - DISCONTINUE                    by PHABKGJOB     Ef f:   10/20/16 2314
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Acbain Date Ti:a.e User     Given Bag Reason Code                Items            Charge
10/20/16    2233 FIDONAHS     Y                                       1              0. 0 0
(10/20/16) (2215) Rate: 1,000 MLS/HR


 Adll.in Totals                                                       1                   0
            Case 2:18-cv-00924-PD      Document 15-4      Filed 05/03/18    Page 59 of 85

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 34
USER: MT                       Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account Nu.her FAi3072230S9    ·· LOc:ation   FI4PVA             Unit Hum.her    F001250247
Age/Sex        37/M               Rooa        411                Registered Date 10/07/16
Status         DIS IN             Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                             (Continued)


SODI100019 - SODIUM CHLORIDE 0.9% 1,000 ML IV.SOLN - 1,000 ML

  Adain Route IV CONT
  Site
  Voluae      1,000        Rate 1,000 MLS/HR                       Duration 1 HR
  Start Date 10/22/16-0715        Stop Date 10/22/16 0814           DC Date 10/22/16-0814
  Ordering Doctor     CHOWDHURY,JUNAD MD
  Last Bag    0
  Total Dispensed     0           Total Costs $                      Total Charges $
  Rx Nu:aber  001890815

  Discontinue Coaaents Reached Stop Date


  History
   10/22/16 0710 - POM ORDER                        by COCHOWDJ
   10/22/16 0711 - EDIT                             by FILINC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/22/16 0711 - VERIFIED                         by FILINC
   10/22/16 0814 - DISCONTINUE                      by PHABKGJOB      Ef f: 10/22/16 0814
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Adm.in Date Time User       Given Bag Reason Code                   Items         Charge
10/22/16    0734 FICAVANMl    Y                                         1           0. 0 0
(10/22/16) (0715) Rate: 1,000 MLS/HR


  AdJllin Totals                                                        1                 0
             Case 2:18-cv-00924-PD          Document 15-4      Filed 05/03/18    Page 60 of 85

DATE: ll/03/16 @ 0002              Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 35
USER: MT                            Medication Administration Summary

Patient                                             Responsible Doctor LITTMAN.MARIO, MD
Account Nwaber · FAf3b7223o89 ········· iocaiion   FI4PVA             Unit Nwaber     F001250247
Age/Sex          37/M                   Rooa       411                Registered Date 10/07/16
Status           DIS IN                 Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                             (Continued)


SODI100019 - SODIUM CHLORIDE 0.9% 1,000 ML IV.SOLN - 1,000 ML

  Adain Route IV CONT
  Site
  Volwae      1,000        Rate 1,000 MLS/HR                            Duration 1 HR
  Start Date 10/22/16-0915        Stop Date 10/22/16 1014                DC Date 10/22/16-1014
  Ordering Doctor     MANN,RUPINDER K MD
  Last Bag    0
  Total Dispensed     0           Total Costs $                           Total Charges $
  Rx Nu:aber  001890869

  Discontinue Coam.ents Reached Stop Date


  History
   10/22/16 0902 - POM ORDER                             by COMANNR
   10/22/16 0903 - EDIT                                  by FILINC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/22/16 0903 - VERIFIED                              by FILINC
   10/22/16 1014 - DISCONTINUE                           by PHABKGJOB      Eff: 10/22/16 1014
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

AdJain Date Time User       Given Bag Reason Code                        Items         Charge
10/22/16    0908 FICAVANMl    Y                                              1           0. 0 0
(10/22/16) (0915) Rate: 1,000 MLS/HR


  Acblin Totals                                                              1                 0
               Case 2:18-cv-00924-PD               Document 15-4       Filed 05/03/18     Page 61 of 85
DATE: 11/03/16 @ 0002                    Mercy Fitzgerald Hospital PHA *LIVE*                               PAGE 36
USER: MT                                  Medication Administration Summary

Patient                                                     Responsible Doctor LITTMAN,MARIO, MD
Account N:wlber ·:FA.f3b722:fila9 ····     iOC:at.ic::ln   FI4PVA             Unit Nu..ber    F001250247
Age/Sex          37/M                      Rooa            411                Registered Date 10/07/16
Status           DIS IN                    Bed             02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                           FA1307223089                                (Continued)


SODI500I21 - SODIUM CHLORIDE 0.9% 500 ML IV.SOLN - 500 ML

  Adiain Route IV CONT
  Site
  Volwae       500         Rate 1,000 MLS/HR                                    Duration 30 MIN
  Start Date 10/23/16-0345         Stop Date 10/23/16 0414                       DC Date 10/23/16-0414
  Ordering Doctor      GOOCH,JOHN R MD
  Last Bag     0
  Total Dispensed      0           Total Costs $                                  Total Charges $
  Rx Nu:aber   001891486

  Discontinue Coam.ents Reached Stop Date


  History
   10/23/16 0346 - POM ORDER                                     by COGOOCHJ
   10/23/16 0352 - VERIFIED                                      by FISPERAR
   10/23/16 0414 - DISCONTINUE                                   by PHABKGJOB      Eff: 10/23/16 0414
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Adm.in Date Tim.e User      Given Bag Reason Code                                IteJts         Charge
10/23/16    0358 FIDONAHS     Y                                                       1           0. 0 0
(10/23/16) (0345) Rate: 1,000 MLS/HR


  Adain Totals                                                                       1                  0
           Case 2:18-cv-00924-PD        Document 15-4     Filed 05/03/18     Page 62 of 85

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 37
USER: MT                        Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account H~ :F.i\i3i:J7223089   · · Location   FI4PVA             Unit NUJ11.ber  F001250247
Age/Sex    37/M                  Rooa         411                Registered Date 10/07/16
Status     DIS IN                Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                             (Continued)


SODI500121 - SODIUM CHLORIDE 0.9% 500 ML IV.SOLN - 500 ML

  Adain Route IV CONT
  Site
  Volwae      500          Rate 1,000 MLS/HR                      Duration 30 MIN
  Start Date 10/23/16-0515        Stop Date 10/23/16 0544          DC Date 10/23/16-0544
  Ordering Doctor     GOOCH,JOHN R MD
  Last Bag    0
  Total Dispensed     0           Total Costs $                     Total Charges $
  Rx Nuaber   001891500

  Discontinue Collments Reached Stop Date


  History
   10/23/16 0506 - POM ORDER                       by COGOOCHJ
   10/23/16 0533 - VERIFIED                        by FISPERAR
   10/23/16 0544 - DISCONTINUE                     by PHABKGJOB      Eff: 10/23/16 0544
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

AdJain Date Tiae User       Given Bag Reason Code                  lteJR.S         Charge
10/23/16    0539 FIDONAHS     Y                                          1            0. 0 0
(10/23/16) (0515) Rate: 1,000 MLS/HR


  Adain Totals                                                          1                  0
             Case 2:18-cv-00924-PD       Document 15-4       Filed 05/03/18   Page 63 of 85
DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 38
USER: MT                       Medication Administration Summary

Patient                                            Responsible Doctor LITTMAN,MARIO, MD
Account Nu.her FA1307223089      :t.OC:O.ii..on   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M              Roca             411                Registered Date 10/07/16
Status         DIS IN            Bed              02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                              (Continued)

PROP10VI9 - PROPOFOL 1000 MG/100 ML VIAL - 100 ML

  Adain Route IV CONT
  Site
  Volume      100          Rate 0 MLS/HR                             Duration 0 SEC
  Frequency   .QOM (PRN) PAR= PRN REASON: rass 0 to -1
  Start Date 10/24/16-1645        Stop Date None                      DC Date 10/25/16-1007
  Ordering Doctor     GEVORGYAN,DAVID MD
  Last Bag    0
  Total Dispensed     1           Total Costs $21.35                   Total Charges $176.00
  Rx Nuaber   001892970

  Protocol
    ~Con~=d=i~t=io=n~~~~~~~~~~-        Dose/Rate/Route                Instruction
    SEDATION                           START @5 MCG/KG/MIN            TITRATE TO RASS GOAL
    TITTRATION IF NEEDED               5 MCG/KG/MIN QlOMIN
    MAXIMUM DOSE 50 MCG/KG/MIN
  Warnings
  Type:           MAINTENANCE
  Range:          PROPOFOL (10 MG/l ML)
  Condition:      ALL COMMON INDICATIONS
  Warnings           PROP10VI9: Unable to check dose ranges for MCG/KG/MIN (No Duration).




  History
   10/24/16 1647 - POM ORDER                    by COGEVORD
   10/24/16 1647 - MERGEDM                      by SYSTEM
      Items Dispensed: on: 10/24/16-1646 Dispensing Machine: SPAV User: HBEURKET
   10/24/16 1650 - VERIFIED                     by FIANDERC
   10/24/16 1650 - DEBIT                        by HBEURKET
         ITEMS: 1     DOSES: 1
   10/24/16 1650 - EVALDM                       by FIANDERC
      Dispensing machine transaction merged
         Items Dispensed: on: 10/24/16-1646 Dispensing Machine: 5PAV User: HBEURKET
   10/24/16 1655 - EDIT                         by FIBEURKH
      FROM:
        TITRATION DOSE UNITS:
      TO:
        TITRATION DOSE UNITS: MCG/KG/MIN
   10/24/16 1655 - WEIGHT BASED DOSING          by FIBEURKH
      Ordered Rate: 0 MCG/KG/MIN
      Calculated Patient Weight: 93 KG
            (Height: 170.18 CM, Weight: 93 KG, Method: Actual Body Weight)
      Rate: 0 MLS/HR
   10/25/16 1008 - DISCONTINUE                  by COGEVORD     Eff: 10/25/16 100 7
      EDIT DOCTOR: GEVORGYAN,DAVID MD
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USER: MT                       Medication Administration Summary

Patient                                     Resp:msible Doctor LITTMAN.MARIO, MD
Account Nwaber FA1307223089     Location   FI4PVA             Unit NWllber    F001250247
Age/Sex        37/M             Rooa       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)

      EDIT SOURCE: Provider Source

Ad•in Date Tiae User        Given Bag Reason Code              I tells         Charge
10/24/16    1655 FIBEURKH     Y                                      1
  COSIGNED BY: FIYOUNGS
                  Rate: 22.32 MLS/HR


  Adain Totals                                                       1


RING100010 - RINGERS SOLUTION.LACTATED 1,000 ML IV.SOLN - 1,000 ML

  Adain Route IV CONT
  Site
  Volume      1.000        Rate 60 MLS/HR                     Duration 16 HR 40 MIN
  Start Date 10/24/16-1800        Stop Date 10/24/16 1800      DC Date 10/24/16-1800
  Ordering Doctor     MARCOE,JEFFREY P MD
  Last Bag    0
  Total Dispensed     0           Total Costs $                 Total Charges $
  Rx Nuaber   001893026



  History
   10/24/16 1753 - EDIT                        by COMARCOJ
      EDIT DOCTOR: MARCOE,JEFFREY P MD
      EDIT SOURCE: Provider Source
      FROM:
        START: 10/24/16-1800   STOP: None   SOFT STOP:
      TO:
        START: 10/24/16-1800   STOP: 10/24/16-1800   SOFT STOP:
   10/24/16 1753 - POM ORDER                   by COMARCOJ
   10/24/16 1753 - DISCONTINUE                 by COMARCOJ      Eff: 10/24/16 1800
      EDIT DOCTOR: MARCOE,JEFFREY P MD
      EDIT SOURCE: Provider Source
   10/24/16 1753 - VERIFIED                    by SYSTEM
      Verified in order to DC
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DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 40
USER: MT                          Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN,MARIO, MD
Account NWl.bei ·FAi3b7223oEi9 · ·   Lo:;ation   FI4PVA             Unit NUlllber   F001250247
Age/Sex          37/M                Rcx:m       411                Registered Date 10/07/16
Status           DIS IN              Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                            (Continued)


SODI100019 - SODIUM CHLORIDE 0.9% 1,000 ML IV.SOLN - 1,000 ML

  Adain Route IV CONT
  Site
  Vollllle    1,000        Rate 60 MLS/HR                            Duration 16 HR 40 MIN
  Start Date 10/24/16-1800        Stop Date None                      DC Date 10/25/16-0842
  Ordering Doctor     MARCOE,JEFFREY P MD
  Last Bag    0
  Total Dispensed     0           Total Costs $                        Total Charges $
  Rx Number   001893029



  History
   10/24/16 1753 - POM ORDER                           by COMARCOJ
   10/24/16 1756 - EDIT                                by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/24/16 1756 - VERIFIED                            by FIANDERC
   10/25/16 0846 - DISCONTINUE                         by COVALEND      Ef f: 10/25/16 084 2
      EDIT DOCTOR: VALENTINO,DOMINIC J, DO
      EDIT SOURCE: Provider Source

Adain Date Tiae User        Given Bag Reason Code                     IteJts         Charge
10/24/16    1800 FIYOUNGS     Y                                           1            0.00
(10/24/16) (1800) Rate: 60 MLS/HR

10/25/16    0532 FIBURKEC     Y                                           1              0.00
(10/25/16) (1040) Rate: 60 MLS/HR


  Adm.in Totals                                                           2                  0
             Case 2:18-cv-00924-PD      Document 15-4   Filed 05/03/18   Page 66 of 85

DATE: 11/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                      PAGE 41
USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Hu-.ber FAi3bi223089     Location   FI4PVA             Unit N\lllber   F001250247
Age/Sex         37/M             Rooa       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                          (Continued)


DEXM200PB - DEXMEDETOMIDINE 200 MCG/ NSS 50 ML - 50 ML

  Achain Route IV CONT
  Site
  VolUlle      50           Rate 0 MLS/HR                    Duration 0 SEC
  Frequency    .QOM (PRN) PAR= PRN REASON: RASS Goal 0 to -1
  Start Date 10/25/16-0845         Stop Date None             DC Date 10/25/16-1623
  Ordering Doctor      VALENTINO.DOMINIC J, DO
  Last Bag     0
  Total Dispensed      1           Total Costs $67.87          Total Charges $559.25
  Rx Nuaber    001893533

  Protocol
    ~Con~=d=i~t=ion~~~~~~~~~~~     Dose/Rate/Route              Instruction
    START@                         0.2 MCG/KG/HR                TO RASS GOAL 0 to -1
    RATE CHANGES SHOULD BE         NO > 0.1 MCG/KG/HR           Q 30 MIN
    MAX RATE                       1.2 MCG/KG/HR
    Text
    MUST BE ORDERED BY AN INTENSIVIST

  Warnings
  Type:           MAINTENANCE
  Range:          DEXMEDETOMIDINE IN 0.9 % NACL (200 MCG/50 ML)
  Condition:      ALL COMMON INDICATIONS
  ¥Jarnings          DEXM200PB: Unable ta check dose ranges far MCG/KG/HR (Na Duration).




  History
   10/25/16 0847 - POM ORDER                    by COVALEND
   10/25/16 0850 - EDIT                         by FIJASINT
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/25/16 0850 - VERIFIED                     by FIJASINT
   10/25/16 0909 - DEBIT                        by DGILMAN
        ITEMS: 1      DOSES: 1
   10/25/16 0919 - EDIT                         by FIGILMAD
      FROM:
        TITRATION DOSE UNITS:
      TO:
        TITRATION DOSE UNITS: MCG/KG/HR
   10/25/16 0919 - WEIGHT BASED DOSING          by FIGILMAD
      Ordered Rate: 0 MCG/KG/HR
      Calculated Patient Weight: 93 KG
            (Height: 170.18 CM, Weight: 93 KG, Method: Actual Bady Weight)
      Rate: 0 MLS/HR
             Case 2:18-cv-00924-PD        Document 15-4    Filed 05/03/18    Page 67 of 85

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 42
USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN.MARIO, MD
Account N~r Fii.i:fo7223089     · Lcx;ation FI4PVA                 Unit Nwaber     F001250247
Age/Sex     37/M                  ROOll         411                Registered Date 10/07/16
Status      DIS IN                Bed           02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)

   10/25/16 1625 - DISCONTINUE                       by COREGANJ       Eff: 10/25/16 162 3
      EDIT DOCTOR: REGAN,JOHN E MD
      EDIT SOURCE: Provider Source

Adm.in Date Tia.e User       Given Bag Reason Code                   Items         Charge
10/25/16    0919 FIGILMAD      Y                                         1
  COSIGNED BY: FIDALISAl
                   Rate: 4.65 MLS/HR


  .A.ch.in Totals                                                        1


SODI500I21 - SODIUM CHLORIDE 0.9% 500 ML IV.SOLN - 500 ML

  Adm.in Route IV CONT
  Site
  VollD.e      500          Rate l,000 MLS/HR                       Duration 30 MIN
  Start Date 10/26/16-1045         Stop Date 10/26/16 1114           DC Date 10/26/16-1114
  Ordering Doctor      REGAN,JOHN E MD
  Last Bag     0
  Total Dispensed      0           Total Costs S                      Total Charges S
  Rx Nu:aber   001894695

  Discontinue Collllll.ents Reached Stop Date


  History
   10/26/16 1043 - POM ORDER                         by COREGANJ
   10/26/16 1050 - VERIFIED                          by FIREALID
   10/26/16 1114 - DISCONTINUE                       by PHABKGJOB      Eff: 10/26/16 1114
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Admin Date Tiae User        Given Bag Reason Code                    Items         Charse
10/26/16    1124 FIGILMAD     Y                                          1           0.00
(10/26/16) (1045) Rate: 1,000 MLS/HR


  Ad.in Totals                                                           1                 0
           Case 2:18-cv-00924-PD      Document 15-4     Filed 05/03/18    Page 68 of 85

DATE: ll/03/16 @ 0002       Mercy Fitzgerald Hospital PHA *LIVE*                              PAGE 43
USER: MT                     Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account N~rFA.1307223089         Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex       37/M               Rooa       411                Registered Date 10/07/16
Status        DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)


RING100010 - RINGERS SOLUTION.LACTATED 1,000 ML IV.SOLN - 1,000 ML

 Adain Route IV CONT
 Site
 Voluae      1,000        Rate 1,000 MLS/HR                      Duration 1 HR
 Start Date 10/27/16-0845        Stop Date 10/27/16 0944          DC Date 10/27/16-0944
 Ordering Doctor     IRIARTE OPORTO, BLANCA E MD
 Last Bag    0
 Total Dispensed     0           Total Costs S                     Total Charges $
 Rx Number   001895589

  Discontinue Coaaents Reached Stop Date


  History
   10/27/16 0839 - POM ORDER                      by COIRIATB
   10/27/16 0841 - VERIFIED                       by FIANDERC
   10/27/16 0944 - DISCONTINUE                    by PHABKGJOB      Eff: 10/27/16 0944
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Acbain Date Time User       Given Bag Reason Code                 Items         Charge
10/27/16    0854 FIMAXWEM     Y                                       1              0. 0 0
(10/27/16) (0845) Rate: 1,000 MLS/HR


 Adain Totals                                                         1                  0
           Case 2:18-cv-00924-PD        Document 15-4    Filed 05/03/18     Page 69 of 85

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 44
USER: MT                        Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account Nwaber.FAi3b7223()89     LOCO.ti.on   FI4PVA             Unit NUJ11.ber  F001250247
Age/Sex        37/M              Rao.         411                Registered Date 10/07/16
Status         DIS IN            Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                            (Continued)


SODI100019 - SODIUM CHLORIDE 0.9% 1,000 ML IV.SOLN - l,000 ML

  Adm.in Route IV CONT
  Site
  Volume       1,000        Rate 75 MLS/HR                        Duration 13 HR 20 MIN
  Start Date 10/31/16-0745         Stop Date 11/01/16 1024         DC Date 11/01/16-1024
  Total Volume to Infuse 2,000 mls
  Total Bags 2
  Ordering Doctor      SHETH,VISHAD MMD
  Last Bag     0
  Total Dispensed      0           Total Costs S                    Total Charges S
  Rx Number    001898817

  Discontinue Coaiaents Reached Stop Date


  History
   10/31/16 0745 - POM ORDER                        by COSHETHV
   10/31/16 0746 - EDIT                             by FIJASINT
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/31/16 0746 - VERIFIED                        by FIJASINT
   ll/Ol/16 0745 - RENEW STOP FILED                by SYSTEM
   ll/Ol/16 1024 - DISCONTINUE                     by PHABKGJOB      Ef f: 11/01/16 102 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Adm.in Date Tim.e User       Given Bag Reason Code                 Iten.s         Charge
10/31/16     0855 FIMOSLEK     y                                        1           0.00
(10/31/16) ( 0745) Rate: 75 MLS/HR

10/31/16    2118 FITAGOED     y                                        1            0.00
(10/31/16) (2105) Rate: 75 MLS/HR


  Adm.in Totals                                                        2                  0
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DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 45
USER: MT                       Medication Administration Summary

Patient                                     Resp:Jnsible Doctor LITTMAN.MARIO, MD
Account N:wabeiFA1307223089     Location   FI4PVA              Unit Nwaber     F001250247
Age/Sex        37/M             Rooa       411                 Registered Date 10/07/16
Status         DIS IN           Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)


THIA100V6 - THIAMINE HCL 200 MG/2 ML VIAL - 100 MG (1 ML)
FOLI5VIA3 - FOLIC ACID 5 MG/ML lOML - 1 MG (0.2 ML)
in SODI100I12 - SODIUM CHLORIDE 0.9% 100 ML IV.SOLN - 100 ML

  Adm.in Route IV
  Site
  Volu.e       101.2        Rate 100 MLS/HR                    Duration 1 HR 1 MIN
  Start Date 10/07/16-1030         Stop Date None               DC Date 10/10/16-1245
  Ordering Doctor      BORIKAR.MADHURA S MD
  Last Bag     4
  Total Dispensed      4           Total Costs $37.76            Total Charges $353.00
  Rx Nu:aber   001874059



  History
   10/07/16 1031 - POM ORDER                   by COBORIKM
   10/07/16 1031 - NOW DOSE                    by COBORIKM
      Now Dose: 10/07/16 1030
   10/07/16 1031 - KEEP NEXT DOSE              by COBORIKM
      Keep Next Dose: 10/08/16 0900
   10/07/16 1045 - VERIFIED                    by FIRECEVM
      Items Dispensed: 1      Doses Dispensed: 1
       For:   10/07/16 - 1030
   10/07/16 2145 - FILL                        by
      Items Dispensed: 1       Doses Dispensed: 1
      For:   10/08/16 - 0900
   10/08/16 2145 - FILL                        by
      Items Dispensed: 1       Doses Dispensed: 1
      For:   10/09/16 - 0900
   10/09/16 2145 - FILL                        by
      Items Dispensed: 1       Doses Dispensed: 1
      For:   10/10/16 - 0900
   10/10/16 1247 - DISCONTINUE                 by COZHANGH        Eff: 10/10/16 1245
      EDIT DOCTOR: ZHANG,HONGYU MD
      EDIT SOURCE: Provider Source

Adllin Date Tiae User       Given Bag Rea.son Code              Iten.s         Cha;rge
10/07/16    1119 FIBRIGHM     y                                      1           0.00
(10/07/16) (1030) Rate: 100 MLS/HR

10/08/16    0909 FIBRIGHM     y                                      1           0.00
(10/08/16) (0900) Rate: 100 MLS/HR

10/09/16    0826 FIBRIGHM     y                                      1           0.00
(10/09/16) (0900) Rate: 100 MLS/HR

10/10/16    0827 FIHOKEL      y                                      1           0. 0 0
(10/10/16) (0900) Rate: 100 MLS/HR
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DATE: ll/03/16 @ 0002        Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 46
USER: MT                      Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account N~ FA1307223089          Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex    37/M                  Rooa       411                Registered Date 10/07/16
Status     DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)



  Adain Totals                                                        4                 0


POTA20PI4 - POTASSIUM CHLORIDE 20 MEQ/100 ML PIGGYBACK - 100 ML

  AdJain Route IV
  Site
  Vol1a.e      100          Rate 50 MLS/HR                       Duration 2 HR
  Start Date 10/09/16-1015         Stop Date 10/09/16 1214        DC Date 10/09/16-1214
  Ordering Doctor      BORIKAR,MADHURA S MD
  Last Bag     1
  Total Dispensed      1           Total Costs $1.90               Total Charges $50.00
  Rx Nuaber    001875798

  Discontinue Colulents Reached Stop Date


  History
   10/09/16 1014 - POM ORDER                      by COBORIKM
   10/09/16 1016 - VERIFIED                       by FIRECEVM
   10/09/16 1030 - DEBIT                          by MBRIGHT
        ITEMS: 1     DOSES: 1
   10/09/16 1214 - DISCONTINUE                    by PHABKGJOB      Eff: 10/09/16 1214
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Admin Date Tiae User        Given Bag Reason Code                 Items         Charge
10/09/16    1033 FIBRIGHM     Y                                       1           0.00
(10/09/16) (1015) Rate: 50 MLS/HR


  Adm.in Totals                                                       1                 0
            Case 2:18-cv-00924-PD      Document 15-4   Filed 05/03/18     Page 72 of 85

DATE: ll/03/16 @ 0002        Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 47
USER: MT                      Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account N~ ·FAi3()7223o89    · Location FI4PVA                Unit Nu•ber     F001250247
Age/Sex     37/M               Room.       411                Registered Date 10/07/16
Status      DIS IN             Bed         02                 Discharged Date 11/0 l/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                            (Continued)


VANC1VIA12 - Vancomycin 1,000 MG/VIAL INJECTION - 1,750 MG
in SODI500I21 - SODIUM CHLORIDE 0.9% 500 ML IV.SOLN - 500 ML

  Adm.in Route IV
  Site
  Voluae       500          Rate 250 MLS/HR                     Duration 2 HR
  Start Date 10/09/16-1030         Stop Date 10/09/16 1229       DC Date 10/09/16-1229
  Ordering Doctor      BORIKAR,MADHURA S MD
  Clinical Indication INFECTION - UNSPECIFIED
  Last Bag     1
  Total Dispensed      1           Total Costs $33.85             Total Charges $328.00
  Rx Nuaber    001875820

  Warnings
  Type:          SINGLE DOSE
  Range:         VANCOMYCIN HCL (1 GM)
  Condition:     ALL COMMON INDICATIONS
  Daily Dose        Dosing range is 7.5 MG/KG/DAY - 30 MG/KG/DAY. Ordered dose of 0
                    MG/KG/DAY is below the Low Daily Dose. Factoring in variances, the
                    range of values for this dose is Low: 683.12 MG High: 2,901.51 MG
                    Max: 2,901.51 MG.
  General Warnings Elimination half-life is 4      11 hours
  Renal             The patient's GLOMERULAR FILTRATION RATE is 57. This is lower than
                    the 90 threshold, a drug dosage adjustment should be considered.


  Discontinue Comaents Reached Stop Date


  History
   10/09/16 1025 - POM ORDER                     by COBORIKM
   10/09/16 1026 - EDIT                          by FIRECEVM
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/09/16 1026 - VERIFIED                      by FIRECEVM
      Items Dispensed: 1      Doses Dispensed:   1
       For:   10/09/16 - 1030
   10/09/16 1229 - DISCONTINUE                   by PHABKGJOB      Eff: 10/09/16 122 9
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

ldain Date Tiae User        Given Bag Reason Code               I tells        Charge
10/09/16    1034 FIBRIGHM     Y                                      1           0.00
(10/09/16) (1030) Rate: 250 MLS/HR
             Case 2:18-cv-00924-PD      Document 15-4   Filed 05/03/18     Page 73 of 85

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 48
USER: MT                       Medication Administration Summary

Patient                                     Resp:>nsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089     Location   FI4PVA              Unit HW1Lber    F001250247
Age/Sex        37/M             RCXJ•      411                 Registered Date 10/07/16
Status         DIS IN           Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                            (Continued)



  Ad.Jain Totals                                                      1                 0


VANCl.SP - VANCOMYCIN 1.5 Gram /SOD ML NSS PIGGYBACK - 500 ML

  Admin Route IV
  Site
  VolWle      500          Rate 250 MLS/HR                       Duration 2 HR
  Start Date 10/09/16-2100        Stop Date None                  DC Date 10/10/16-1225
  Ordering Doctor     BORIKAR,MADHURA S MD
  Clinical Indication INFECTION - UNSPECIFIED
  Last Bag    2
  Total Dispensed     2           Total Costs $14.00               Total Charges $115.50
  Rx Nu:aber  001875821



  History
   10/09/16 1025 - POM ORDER                     by COBORIKM
   10/09/16 1026 - EDIT                          by FIRECEVM
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/09/16 1026 - VERIFIED                      by FIRECEVM
   10/09/16 2133 - DEBIT                         by DMCDEV ITT
        ITEMS: 1     DOSES: 1
   10/10/16 0759 - DEBIT                         by LHOKE
        ITEMS: 1     DOSES: 1
   10/10/16 1229 - DISCONTINUE                   by CORUSSDA        Eff: 10/10/16 122 5
      EDIT DOCTOR: RUSSEll,DAVID T DO
      EDIT SOURCE: Provider Source

ld11.in Date Tim.e User     Given Bag Reason Code                 Items         Charge
10/09/16     2136 FIMCDEVD    y                                       1           0. 0 0
(10/09/16) (2100) Rate: 250 MLS/HR
10/10/16     0859 FIHOKEL      y                                      1           0. 0 0
( 10/10/16) (0900) Rate: 250 MLS/HR


  Adain Totals                                                        2                 0
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DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 49
USER: MT                          Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber.:Fii.f3o7223o89     Location   FI4PVA             Unit HUlllber   F001250247
.Age/Sex        37/M               Rao•       411                Registered Date 10/07/16
Status          DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                           (Continued)


MAGNlOOI - MAGNESIUM SULFATE 1 Gram /100 ML NSS PIGGYBACK - 100 ML

  Achin Route IV
  Site
  Volu.e      100          Rate 100 MLS/HR                         Duration 1 HR
  Start Date 10/10/16-0830        Stop Date 10/10/16 0929           DC Date 10/10/16-0929
  Ordering Doctor     BORIKAR,MADHURA S MD
  Last Bag    1
  Total Dispensed     1           Total Costs Sl.73                  Total Charges $50.00
  Rx Nullher  001876647

  Discontinue Co._.ents Reached Stop Date


  History
   10/10/16 0820 - POM ORDER                        by COBORIKM
   10/10/16 0823 - VERIFIED                         bv FIANDERC
   10/10/16 0851 - DEBIT                            by LHOKE
        ITEMS: 1     DOSES: 1
   10/10/16 0929 - DISCONTINUE                      by PHABKGJOB      Eff: 10/10/16 092 9
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Adll.in Date Tiae User      Given Bag Reason Code                   Items         Charge
10/10/16     0858 FIHOKEL     Y                                         1           0. 0 0
(10/10/16) (0830) Rate: 100 MLS/HR


  Achin Totals                                                          1                 0
              Case 2:18-cv-00924-PD        Document 15-4   Filed 05/03/18    Page 75 of 85

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital FHA *LIVE*                          PAGE 50
USER: MT                         Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Hllllber.FAi3oi223o89     iocati;;n   FI4PVA             Unit HUlllber   F001250247
.\ge/Sex         37/M             RCX>Jl      411                Registered Date 10/07/16
Status           DIS IN           Bed         02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                           (Continued)


CEFT2FRO - cefTRIAXone SODIUM 2 Gram /100 ML NSS PIGGYBACK - 100 ML

  Achain Route IV
  Site
  Volwae       100         Rate 100 MLS/HR                       Duration 1 HR
  Start Date 10/10/16-1030        Stop Date 10/10/16 1350         DC Date 10/10/16-1350
  Ordering Doctor      ASNANI,BHARTI, MD
  Clinical Indication BACTEREMIA
  Last Bag     1
  Total Dispensed      1          Total Costs $6.86                Total Charges $56.75
  Rx Nulllber  001876911



  History
   10/10/16 1027 - POM ORDER                   by COASNANB
   10/10/16 1027 - NOW DOSE                    by COASNANB
      Now Dose: 10/10/16 1030
   10/10/16 1027 - KEEP NEXT DOSE              by COASNANB
      Keep Next Dose: 10/ll/16 0900
   10/10/16 1058 - VERIFIED                    by FIREALID
   10/10/16 1117 - DEBIT                       by LHOKE
        ITEMS: 1     DOSES: 1
   10/10/16 1354 - EDIT                        by COBORII<M
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source
      FROM:
        START: 10/10/16-1030   STOP: None   SOFT STOP:
      TO:
        START: 10/10/16-1030   STOP: 10/10/16-1350   SOFT STOP:
   10/10/16 1354 - DISCONTINUE                 by COBORIKM      Eff: 10/10/16 1350
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source
   10/10/16 1355 - POM COPY AND EDIT           by COBORIKM
      TO: Rx #U001133759

A.chain Date Time User      Given Bag Reason Code                 Items          Charge
10/10/16     1124 FIHOKEL     Y                                       1            0.00
(10/10/16) (1030) Rate: 100 MLS/HR


  Achain Totals                                                        1                  0
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DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 51
USER: MT                       Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account Hllllber FAi3bi223o89 ·   Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex          37/M             Rooa       411                Registered Date 10/07/16
Status           DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


CEFT2FRO - cefTRIAXone SODIUM 2 Gram /100 ML NSS PIGGYBACK - 100 ML

  Adain Route IV
  Site
  Voluae      100          Rate 100 MLS/HR                      Duration 1 HR
  Start Date 10/10/16-2100        Stop Date None                 DC Date 10/12/16-1438
  Ordering Doctor     BORIKAR,MADHURA S MD
  Clinical Indication BACTEREMIA
  Last Bag    4
  Total Dispensed     5           Total Costs $34.30              Total Charges $283.75
  Rx Nullher  001877122

  Discontinue Comm.ents D'C PER DR MCNAMEE


  History
   10/10/16 1355 - POM COPY AND EDIT           by COBORIKM
      FROM: Rx #001876911
      Result of Frequency/Schedule Edit
      Ordering Doctor: BORIKAR,MADHURA S MD
      Last Scheduled Administration Time: 10/10/16 - 1030
      Last Actual Administration Time: 10/10/16 - 1124
      Old Freq/Sch: DAILY (SCH)
      New Freq/Sch: Q12 (SCH)
      Old Order Stop: 10/10/16 - 1350
      New Order Start: 10/10/16   2100
      New Order Stop:
   10/10/16 1358 - VERIFIED                    by FIREALID
   10/10/16 2036 - DEBIT                       by SYOUNG
         ITEMS: 1     DOSES: 1
   10/ll/16 0823 - DEBIT                       by LHOKE
        ITEMS: 1      DOSES: 1
   10/ll/16 2011 - DEBIT                       by SYOUNG
        ITEMS: 1      DOSES: 1
   10/12/16 0815 - DEBIT                       by LHOKE
        ITEMS: 1      DOSES: 1
   10/12/16 0849 - DEBIT                       by LHOKE
        ITEMS: 1      DOSES: 1
   10/12/16 1438 - DISCONTINUE                 by FIREALID         Eff: 10/12/16 1438
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           D'C PER DR MCNAMEE

Adain Date Tiae User        Given Bag Reason Code               Items           Charge
10/10/16    2048 FIYOUNGS     Y                                     1              0. 0 0
(10/10/16) (2100) Rate: 100 MLS/HR
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DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 52
USER: MT                         Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account HUllber FAi3cii223089     Lcx::ation   FI4PVA             Unit NUlllber   F001250247
Age/Sex         37/M              Rooa         411                Registered Date 10/07/16
Status          DIS IN            Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                             (Continued)


10/ll/16    0843 FIHOKEL      Y                                        1             0.00
(10/ll/16) (0900) Rate: 100 MLS/HR

10/ll/16    2023 FIVOUNGS     Y                                        1             0. 0 0
(10/ll/16) (2100) Rate: 100 MLS/HR

10/12/16    0904 FIHOKEL      Y                                        1             0. 0 0
(10/12/16) (0900) Rate: 100 MLS/HR


  Adllin Totals                                                        4                   0
               Case 2:18-cv-00924-PD   Document 15-4     Filed 05/03/18    Page 78 of 85

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USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089     Location   FI4PVA             Unit Number     F001250247
Age/Sex        37/M             Roo11.     411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                            (Continued)


VANC1.5P - VANCOMYCIN 1.5 Gram /500 ML NSS PIGGYBACK - 500 ML

  Acbain Route IV
  Site
  Volu.e       500          Rate 250 MLS/HR                   Duration 2 HR
  Start Date 10/10/16-2100         Stop Date 10/ll/16 0806     DC Date 10/ll/16-0806
  Ordering Doctor      BORIKAR,MADHURA S MD
  Clinical Indication CNS INFECTION
  Last Bag     1
  Total Dispensed      1           Total Costs $7.00             Total Charges $57.75
  Rx Nullber   001877129



  History
   10/10/16 1355 - POM ORDER                    by COBORIKM
   10/10/16 1404 - VERIFIED                     by FIREALID
   10/10/16 2036 - DEBIT                        by SYOUNG
         ITEMS: 1    DOSES: 1
   10/ll/16 0810 - EDIT                         by COZHANGH
      EDIT DOCTOR: ZHANG,HONGYU MD
      EDIT SOURCE: Provider Source
      FROM:
        START: 10/10/16-2100   STOP: None    SOFT STOP:
      TO:
        START: 10/10/16-2100   STOP: 10/ll/16-0806    SOFT STOP:
   10/ll/16 0810 - DISCONTINUE                  by COZHANGH      Eff: 10/ll/16 0806
      EDIT DOCTOR: ZHANG,HONGYU MD
      EDIT SOURCE: Provider Source
   10/ll/16 0810 - POM COPY AND EDIT            by COZHANGH
      TO: Rx #U001134399

Acbt.in Date Tiae User      Given Bag Reason Code               Items          Charge
10/10/16     2144 FIYOUNGS    Y                                      1            0. 0 0
(10/10/16) (2100) Rate: 250 MLS/HR

  Ad11.in Totals                                                     1                  0
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DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 54
USER: MT                        Medication Administration Summary

Patient                                      Resp::insible Doctor LITTMAN.MARIO, MD
Account Nu:aber FA1307223089     Location   FI4PVA               Unit Nuaber     F001250247
Age/Sex         37/M             ROOll      411                  Registered Date 10/07/16
Status          DIS IN           Bed        02                   Discharged Date 11/0 l/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)


VANC1.5P - VANCOMYCIN 1.5 Gram /500 ML NSS PIGGYBACK - 500 ML

  Achin Route IV
  Site
  Vollllle    500          Rate 250 MLS/HR                     Duration 2 HR
  Start Date 10/ll/16-0815        Stop Date None                DC Date 10/12/16-1434
  Ordering Doctor     ZHANG,HONGYU MD
  Clinical Indication CNS INFECTION
  Last Bag    1
  Total Dispensed     4           Total Costs $28.00              Total Charges $231.00
  Rx Nuaber   001877964

  lilarnings
  Type:          MAINTENANCE
  Range:         VANCOMYCIN/0.9 Y. SOD CHLORIDE (1.5 G/500 ML)
  Condition:     ALL COMMON INDICATIONS
  Daily Dose        Maximum Daily Dose is 4,000 MG/DAY. Ordered dose of 4.500 MG/DAY
                    exceeds the Maximum Daily Dose. Factoring in variances, the range of
                    values for this dose is Low: 1,353.15 GM High: 5,747.4 GM.
  General Warnings Elimination half-life is 4       11 hours
  Renal             The Patient's GLOMERULAR FILTRATION RATE is > 60. The result can not
                    be compared against the threshold.


  Discontinue Crnu.ents D'C per dr mcnamee.


  History
   10/ll/16 0810 - POM COPY AND EDIT           by COZHANGH
      FROM: Rx #001877129
      Result of Frequency/Schedule Edit
      Ordering Doctor: ZHANG,HONGYU MD
      Last Scheduled Administration Time: 10/10/16 - 2100
      Last Actual Administration Time: 10/10/16 - 2144
      Old Freq/Sch: Q12 (SCH)
      New Freq/Sch: QB (SCH)
      Old Order Stop:   10/ll/16 - 0806
      New Order Start: 10/ll/16 - 0815
      New Order Stop:
   10/ll/16 0810 - NOW DOSE                    by COZHANGH
      Now Dose:  10/ll/16 0815
   10/ll/16 0810 - KEEP NEXT DOSE              by COZHANGH
      Keep Next Dose:   10/ll/16 1300
   10/ll/16 0817 - VERIFIED                    by FI REAL ID
   10/ll/16 0841 - DEBIT                       by LHOKE
        ITEMS: 1      DOSES: 1
   10/ll/16 1132 - DEBIT                       by LHOKE
        ITEMS: 1      DOSES: 1
   10/ll/16 2024 - DEBIT                       by FIL INC
             Case 2:18-cv-00924-PD     Document 15-4    Filed 05/03/18    Page 80 of 85

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 55
USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber.FAi30i223089     Location   FI4PVA             Unit Hllllber   F001250247
Age/Sex        37/M             Rooll      411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)

        ITEMS: 1
   10/12/16 0422 - DEBIT                         by FISACKSM
        ITEMS: 1
   10/12/16 1435 - DISCONTINUE                   by FIREALID     Eff: 10/12/16 1434
      EDIT DOCTOR: ZHANG,HONGVU MD
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          D'-.C per dr mcnamee.

Adllin Date Tiae User       Given Bag Reason Code              Iten.s          Charge
10/ll/16    0927 FIHOKEL      y                                      1           0. 0 0
(10/ll/16) (0815) Rate: 250 MLS/HR

10/ll/16    1229 FIHOKEL     y                                       1           0. 0 0
(10/11/16) (1300) Rate: 250 MLS/HR

10/ll/16    2112 FIVOUNGS     y                                      1           0.00
(10/ll/16) (2100) Rate: 250 MLS/HR

10/12/16    0453 FIDAMATV     y                                      1           0. 0 0
(10/12/16) (0500) Rate: 250 MLS/HR


  Ach.in Totals                                                      4                 0
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USER: MT                         Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN.MARIO, MD
Account HUllber .FAi3cii223089···   Location   FI4PVA             Unit Hlllllber  F001250247
Age/Sex          37/M               Rooa       411                Registered Date 10/07/16
Status           DIS IN             Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                              (Continued)


CEFAlFRO - ceFAZolin 1 GM/NSS 50 ML BAG - 50 ML

  Ach.in Route IV
  Site
  Voluae       50           Rate 100 MLS/HR                          Duration 30 MIN
  Start Date 10/12/16-1437          Stop Date None                    DC Date 10/14/16-1729
  Ordering Doctor      MCNAMEE JR, WILLIAM B, MD
  Clinical Indication PULMONARY/LRTI
  Last Bag     6
  Total Dispensed      6            Total Costs $42.00                 Total Charges $346.50
  Rx Nullber   001879987



  History
   10/12/16 1438 - ENTER                             by FIREALID
   10/12/16 1438 - NOW DOSE                          by FI REAL ID
      Now Dose: 10/12/16 1437
   10/12/16 1438 - KEEP NEXT DOSE                    by   FIREALID
      Keep Next Dose: 10/12/16 2100
   10/12/16 2031 - DEBIT                             by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/13/16 0452 - DEBIT                             by VDAMATO
        ITEMS: 1     DOSES: 1
   10/13/16 1121 - DEBIT                             by LHOKE
        ITEMS: 1     DOSES: 1
   10/13/16 2026 - DEBIT                             by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/14/16 0404 - DEBIT                             by   VDAMATO
        ITEMS: 1     DOSES: 1
   10/14/16 1215 - DEBIT                             by LHOKE
        ITEMS: 1     DOSES: 1
   10/14/16 1731 - DISCONTINUE                       by COGILBEM        Eff: 10/14/16 172 9
      EDIT DOCTOR: GILBERT, MARK, MD
      EDIT SOURCE: Provider Source
AdJRin Date Tiae User        Given Bag Reason Code                    I tells        Charge
10/12/16     2152 FIMCGILM     y                                            1          0. 0 0
(10/12/16.) (1437) Rate: 100 MLS/HR

10/12/16    2154 FIMCGILM     y                                            1            0.00
(10/12/16) (2100) Rate: 100 MLS/HR
10/13/16     0614 FIDAMATV     y                                           1            0. 0 0
( 10/13/16) (0500) Rate: 100 MLS/HR

10/13/16    1127 FIHOKEL      y                                            1            0. 0 0
(10/13/16) (1300) Rate: 100 MLS/HR
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DATE: ll/03/16 @ 0002               Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 57
USER: MT                             Medication Administration Summary

Patient                                             Responsible Doctor LITTMAN.MARIO, MD
Account Hi.lllber FA13 67223089 .     i~i:i.c:ln   FI4PVA             Unit Nwaber      F001250247
Age/Sex           37/M                Rooa         411                Registered. Date 10/07/16
Status            DIS IN              Bed          02                 Discharged. Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                              (Continued)

10/13/16    2043 FIMCGILM     Y                                             1             0.00
(10/13/16) (2100) Rate: 100 MLS/HR

10/14/16    0528 FIDAMATV     Y                                             1             0.00
(10/14/16) (0500) Rate: 100 MLS/HR

10/14/16    1226 FIHOKEL      Y                                             1             0.00
(10/14/16) (1300) Rate: 100 MLS/HR


  .A.dll.in Totals                                                          7                   0


AMPI2GMPB - AMPICILLIN SODIUM 2 GM/100 ML NSS PIGGYBACK - 100 ML

  .A.ID.in Route IV
  Site
  Volu.e         100          Rate 200 MLS/HR                         Duration 30 MIN
  Start Date 10/14/16-2100           Stop Date 10/14/16 2100           DC Date 10/14/16-2100
  Ordering Doctor        GILBERT.MARK, MD
  Clinical Indication BACTEREMIA
  Last Bag       0
  Total Dispensed        0           Total Costs $                      Total Charges S
  Rx Number      001882463



  History
   10/14/16 1731 - POM ORDER                   by COGILBEM
   10/14/16 1733 - VERIFIED                    by FILINC
   10/14/16 1734 - EDIT                        by COGILBEM
      EDIT DOCTOR: GILBERT.MARK, MD
      EDIT SOURCE: Provider Source
      FROM:
        START: 10/14/16-2100   STOP: None   SOFT STOP:
      TO:
        START: 10/14/16-2100   STOP: 10/14/16-2100   SOFT STOP:
   10/14/16 1735 - DISCONTINUE                 by COGILBEM      Eff: 10/14/16 2100
      EDIT DOCTOR: GILBERT.MARK, MD
      EDIT SOURCE: Provider Source
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USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN,MARIO, MD
Account Nu.her FA1307223089     Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M             Rooa       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date 11/0 l/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                            (Continued)


GENT40VI - GENTAMICIN SULFATE 80 MG/2 ML INJECTION - 110 MG (2.75 ML)
in SODI50IV12 - SODIUM CHLORIDE 0.9% 50 ML IV.SOLN - 50 ML

  Admin Route IV
  Site
  Volwae      52.75        Rate 100 MLS/HR                      Duration 31 MIN 39 SEC
  Start Date 10/14/16-2100        Stop Date None                 DC Date 10/20/16-1049
  Ordering Doctor     GILBERT,MARK, MD
  Clinical Indication BACTEREMIA
  Last Bag    17
  Total Dispensed     17          Total Costs $54.91              Total Charges $1317.50
  Rx Nuaber   001882464



  History
   10/14/16 1731 - POM ORDER                      by COGILBEM
   10/14/16 1733 - EDIT                           by FIL INC
      FROM:
         DUPLICATE COMMENT:
      TO:
         DUPLICATE COMMENT: RPH
   10/14/16 1733 - VERIFIED                       by FIL INC
      Items Dispensed: 1       Doses Dispensed:   1
       For:    10/14/16 - 2100
   10/14/16 2145 - FILL                           by
      Items Dispensed: 1         Doses Dispensed:    1
      For:    10/15/16 - 0500
   10/15/16 0705 - FII.L                          by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/15/16 - 1300
   10/15/16 1445 - FILL                           by
      Items Dispensed: 1         Doses Dispensed:    1
      For:    10/15/16 - 2100
   10/15/16 2145 - FILL                           by
      Items Dispensed: 1        Doses Dispensed:     1
      For:    10/16/16 - 0500
   10/16/16 0705 - FILL                           by
      Items Dispensed: 1        Doses Dispensed:     1
      For:    10/16/16 - 1300
   10/16/16 1445 - FILL                           by
      Items Dispensed: 1        Doses Dispensed:     1
      For:    10/16/16 - 2100
   10/16/16 2145 - FII.L                          by
      Items Dispensed: 1        Doses Dispensed:     1
      For:    10/17/16 - 0500
   10/17/16 0705 - FILL                           by
      Items Dispensed: 1        Doses Dispensed:     1
      For:    10/17/16 - 1300
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DATE: ll/03/16 @ 0002        Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 59
USER: MT                      Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
.Account H~r.FAi3bi223089       Location   FI4PVA             Unit Hu•ber     F001250247
.Age/Sex       37/M             Roca       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/O l/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                            (Continued)

   10/17/16 1445 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/17/16 - 2100
   10/17/16 2145 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/18/16 - 0500
   10/18/16 0705 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/18/16 - 1300
   10/18/16 1445 - FII.L                        by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/18/16 - 2100
   10/18/16 2145 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/19/16 - 0500
   10/19/16 0705 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/19/16 - 1300
   10/19/16 1445 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/19/16 - 2100
   10/19/16 2145 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/20/16 - 0500
   10/20/16 0705 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/20/16 - 1300
   10/20/16 1049 - COPY AND EDIT                by FI REAL ID
      TO: Rx #001888813
   10/20/16 1049 - DISCONTINUE                  by FIREAI.ID      Eff: 10/20/16 1049
         Items Auto Credited: 1    Doses Auto Credited: 1
         For:   10/20/16 - 1300
      EDIT DOCTOR: GILBERT.MARK. MD

.Adm.in Date Tia.a User      Given Bag Reason Code              Iten.s          Charge
10/14/16     2023 FIMCCORJ     y                                     1            0.00
 (10/14/16) (2100) Rate: 100 MLS/HR

10/15/16    0516 FIMCCORJ     y                                     1             0.00
(10/15/16) (0500) Rate: 100 MLS/HR

10/15/16    1218 FIBEURKH     y                                     1             0.00
(10/15/16) (1300) Rate: 100 MLS/HR
10/15/16    2025 FIREVAKN    y                                      1             0.00
(10/15/16) (2100) Rate: 100 MLS/HR

10/16/16     0436 FIREVAKN     y                                    1             0. 0 0
( 10/16/16) (0500) Rate: 100 MLS/HR
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DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 60
USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Hu.her FA1307223089     Location   FI4PVA             Unit Hwaber     F001250247
Age/Sex        37/M             RCXJa      411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                            (Continued)

10/16/16    1221 FIBEURKH     y                                      1            0.00
(10/16/16) (1300) Rate: 100 MLS/HR

10/16/16    2207 FIREVAKN     y                                      1            0.00
(10/16/16) (2100) Rate: 100 MLS/HR

10/17/16    0443 FIREVAKN     y                                      1            0. 0 0
(10/17/16) (0500) Rate: 100 MLS/HR

10/17/16    1505 FIMCCARD    y                                       1            0. 0 0
(10/17/16) (1300) Rate: 100 MLS/HR

10/17/16    2111 FIROSSIA     y                                      1            0. 0 0
(10/17/16) (2100) Rate: 100 MLS/HR

10/18/16    0526 FIROSSIA     y                                      1            0. 0 0
(10/18/16) (0500) Rate: 100 MLS/HR

10/18/16     1235 FIYOUNGS     y                                     1            0. 0 0
(10/18/16) ( 1300) Rate: 100 MLS/HR

10/18/16    2106 FIROSSIA     y                                      1            0. 0 0
(10/18/16) (2100) Rate: 100 MLS/HR

10/19/16    0422 FIROSSIA     y                                      1            0. 0 0
(10/19/16) (0500) Rate: 100 MLS/HR

10/19/16     1322 FIGIIMAD     y                                     1            0. 0 0
(10/19/16) ( 1300) Rate: 100 MLS/HR

10/19/16    2055 FIDONAHS     y                                      1            0. 0 0
(10/19/16) (2100) Rate: 100 MLS/HR

10/20/16     0435 FIMCDEVD     y                                     1            0. 0 0
( 10/20/16) (0500) Rate: 100 MLS/HR


  Admin Totals                                                    17                    0
